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      1 SCOTT+SCOTT, ATTORNEYS AT LAW LLP
          John T. Jasnoch (281605)
      2 jjasnoch@scott-scott.com

      3 655 North Central Ave., 17th Floor
        Glendale, California 91203
      4 Telephone: (213) 985-1274
        Facsimile: (213) 985-1278
      5
          BOTTINI & BOTTINI, INC.
      6 Francis A. Bottini, Jr. (SBN 175783)

      7
          fbottini@bottinilaw.com
          Albert Y. Chang (SBN 296065)
      8   achang@bottinilaw.com
          Yury A. Kolesnikov (SBN 271173)
      9   ykolesnikov@bottinilaw.com
          7817 Ivanhoe Avenue, Suite 102
     10   La Jolla, California 92037
     11   Telephone: (858) 914-2001
          Facsimile: (858) 914-2002
     12
          Co-Lead Counsel for Plaintiffs
     13

     14
          [Additional counsel listed on the signature page.]

     15
                          UNITED STATES DISTRICT COURT
     16                  CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
     17

     18 IN RE: OSI SYSTEMS, INC.                )   Lead Case No. 2:14-cv-02910-MWF
          DERIVATIVE LITIGATION                 )   (VBKx)
     19
                                                )
     20 This Document Relates To:               )   Derivative Action
                                                )
     21
               ALL ACTIONS                      )   VERIFIED CONSOLIDATED
     22                                         )   SHAREHOLDER DERIVATIVE
                                                )   COMPLAINT
     23
                                                )
     24                                         )   DEMAND FOR JURY TRIAL
                                                )
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      1       Plaintiffs Marc Hagan and the City of Irving Supplemental Benefit
      2 Plan (“Plaintiffs”) bring this action on behalf of Nominal Defendant OSI

      3 Systems, Inc. (“OSI” or the “Company”) against the six members of OSI’s

      4 Board of Directors (the “Board”), asserting claims for breaches of fiduciary

      5 duties (Counts I and II) and unjust enrichment (Count III). Plaintiffs allege

      6 the following based upon personal knowledge as to themselves and their

      7 own acts, and information and belief as to all other matters.      Plaintiffs’
      8 information and belief are based upon their counsel’s investigation, which

      9 included, among other things, a review of publicly available documents and

     10 information     regarding Defendants and OSI, conference calls and
     11 announcements made by Defendants, U.S. Securities and Exchange

     12 Commission (“SEC”) filings, wire and press releases published by and

     13 regarding OSI, analysts’ reports and advisories about OSI, and documents

     14 obtained pursuant to 8 Del. Code §220 (the “220 Demand”).

     15                        NATURE OF THE ACTION
     16       1.      This stockholder derivative action concerns breaches of
     17 fiduciary duties by the Board and OSI’s senior management from January

     18 2012 to the present (the “Relevant Period”).

     19       2.      OSI is a Delaware corporation headquartered in Hawthorne,
     20 California,   that designs and manufactures electronic systems and
     21 components for the homeland security, healthcare, defense, and aerospace

     22 markets.      OSI’s core business segment is Rapiscan Systems, Inc.
     23 (“Rapiscan”), a developer and manufacturer of X-ray security systems that

     24 accounts for nearly half of OSI’s annual revenue. Among the Company’s

     25 largest customers is the Transportation Security Administration (the

     26 “TSA”),     which uses the Company’s security imaging products in
     27 administering mandatory security checkpoints and passenger screenings in

     28 airports.

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      1        3.   During the Relevant Period, Defendants caused OSI to operate
      2 in an unlawful manner that resulted in the Company violating positive law

      3 with   regard to Rapiscan and disseminating false and misleading
      4 information concerning the Rapiscan full body scanners and OSI’s

      5 contracts with the TSA.

      6        4.   Specifically, during the Relevant Period, Defendants caused the
      7 Company to: (1) manipulate an operational test of its Advanced Imaging

      8 Technology (“AIT”) by selectively picking the best sensors, which caused

      9 the test not to be representative of the scanners deployed at airports;

     10 (2) manufacture products that directly violated the Company’s contracts

     11 with the TSA; and (3) make false and misleading statements and omissions

     12 about the Company’s finances and business prospects.

     13        5.   Furthermore, when the AIT scanners were first deployed, there
     14 was a public outcry regarding the highly detailed images produced by these

     15 machines.    The TSA hired OSI to modify its software for operating the
     16 machines so the display would appear more generic. However, because of

     17 these machines’ hardware, specifically the tubes that provided the scanned

     18 image, OSI could not timely create the software requested by the TSA.

     19 Again, OSI selectively picked only certain machines to show the TSA, in an

     20 effort to mislead the TSA into believing that a solution to these software

     21 issues was close.

     22        6.   Defendants’ misconduct, specifically their failure to implement
     23 and maintain adequate internal controls, led to the cancellation of more

     24 than $60 million in contracts with the TSA and the endangerment of

     25 further business with the federal government. Thus, on January 18, 2013,

     26 the TSA reported that it had terminated its AIT contract with the Company

     27 and that OSI would be required to bear the costs of removing Rapiscan

     28 body scanners from airports, because the TSA concluded that the Company

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      1 could not meet a Congressional deadline to produce generic passenger

      2 images instead of images that invade the privacy of passengers.

      3       7.    On May 20, 2013, OSI reported that the Department of
      4 Homeland Security (the “DHS”) issued a “Notice of Proposed Debarment”

      5 to the Company (the “Notice”), which if implemented would bar OSI from

      6 contracting with the federal government. The Notice alleged that OSI failed

      7 to disclose a defect with its AIT products and replaced hardware without

      8 being granted proper governmental approval. On June 21, 2013, to avoid

      9 debarment, OSI entered into an Administrative Agreement with the DHS,

     10 pursuant to which the Company was forced to, among other things, hire an

     11 outside consultant to conduct an independent assessment of its internal

     12 controls, ethics, and compliance functions.

     13       8.    Unsurprisingly, the assessment of OSI’s internal controls
     14 showed that Defendants were not doing their job and knowingly abdicated

     15 their responsibility to manage the Company. A report dated September 18,

     16 2013 (the “Report”) revealed major holes in the Company’s oversight and

     17 compliance reporting procedure, including the following:

     18             a.    the Company did not even have a dedicated compliance
     19       officer until May 2013, and, as of October 2013, the compliance
     20       officer had never met with OSI’s Board or the Company’s Chief
     21       Executive Officer (“CEO”) and had not been included in senior or
     22       executive management meetings;
     23             b.    although the Board delegated responsibility for oversight
     24       of compliance to the Audit Committee of the Board, the charter for
     25       that committee was “vague” and the Audit Committee failed to meet
     26       with OSI’s compliance director even after that position was created
     27       following the Company’s near debarment;
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      1             c.    the Company did not even have a separate budget to fund
      2       its Ethics and Compliance Program;
      3             d.    the Company lacked an independent formal compliance
      4       structure that complied with the federal regulations;
      5             e.    the Company’s Code of Ethics entirely failed to address
      6       the subjects of government contracting and anti-corruption; and
      7             f.    although required by federal regulations to assess the risk
      8       of misconduct and criminal activity, the Company did not currently
      9       have a formal process in place to assess the risk of misconduct or
     10       criminal conduct in the organization.
     11       9.    Plaintiffs’ investigation confirms that the Board utterly failed to
     12 exercise proper oversight of the Company.         Specifically, a shareholder
     13 inspection demand pursuant to 8 Del. C. §220 revealed that, for almost one

     14 year, between January 1, 2012 and November 15, 2012, there is no evidence

     15 that the Board did anything to monitor the risk that Rapiscan was not in

     16 compliance with the law.

     17       10.   Incredibly, three of the six members of the Board sold hundreds
     18 of thousands of shares of OSI stock before this material information was

     19 made public, and while OSI stock was trading at artificially inflated prices.

     20 These three Board members received over $8 million from these sales.

     21 After these Board members unloaded their OSI stock, and once this

     22 information was made public, OSI’s stock price fell precipitously.

     23       11.   As a result of Defendants’ wrongdoing, the Company has
     24 suffered substantial damage. This shareholder derivative action seeks to

     25 recover damages and obtain injunctive relief on OSI’s behalf.

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      1                              JURISDICTION AND VENUE
      2        12.     Subject matter jurisdiction is conferred by 28 U.S.C §1332.
      3 Complete diversity exists among the parties, and the amount in controversy

      4 exceeds $75,000, exclusive of interest and costs.

      5        13.     This Court has personal jurisdiction over each Defendant
      6 named herein because each Defendant is either a corporation that conducts

      7 business in and maintains operations in this District, or is an individual

      8 who has sufficient minimum contacts with this District to render the

      9 exercise of jurisdiction by the Court permissible under traditional notions

     10 of fair play and substantial justice.          Moreover, the Court has personal
     11 jurisdiction over each Defendant because each Defendant has committed

     12 acts within this District and/or directed acts at this District, which are

     13 related to the claims at issue in this complaint.

     14        14.     Venue is proper in this Court in accordance with 28 U.S.C.
     15 §1391(a) because:

     16                a.      OSI maintains its principal place of business in this
     17        District;
     18                b.      one or more of the Individual Defendants either resides or
     19        maintains executive offices in this District;
     20                c.      a substantial portion of the transactions and wrongs set
     21        forth        below,   including   the   Individual   Defendants’   primary
     22        participation in the wrongful acts, occurred in this District; and
     23                d.      the Individual Defendants have received substantial
     24        compensation in this District by doing business here and engaging in
     25        numerous activities that had an effect in this District.
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      1                                 THE PARTIES
      2 I.     Plaintiffs
      3        15.   Plaintiff Marc Hagan (“Hagan”) is a current shareholder of OSI
      4 and has continuously held OSI stock since 2007. Plaintiff Hagan is a citizen

      5 of Washington.

      6        16.   Plaintiff City of Irving Supplemental Benefit Plan (“City of
      7 Irving”) is a retirement benefit plan of the City of Irving, Texas, a home-rule

      8 municipality of the State of Texas.         Plaintiff City of Irving is a current
      9 shareholder of OSI and has continuously held OSI stock since February 29,

     10 2012. Plaintiff City of Irving is a citizen of Texas.

     11 II.    Nominal Defendant
     12        17.   Nominal     Defendant    OSI     Systems,   Inc.   is   a   Delaware
     13 corporation, with its principal executive offices at 12525 Chadron Avenue,

     14 Hawthorne, California.      OSI produces specialized electronic systems and
     15 components used in the homeland security, defense, aerospace, and

     16 healthcare industries.     The Company was founded in May 1987. OSI’s
     17 common stock trades on the NASDAQ Stock Market (“NASDAQ”) under

     18 the ticker symbol “OSIS.” OSI is a citizen of California and Delaware.

     19 III.   The Individual Defendants
     20        18.   Defendant Deepak Chopra (“Chopra”) founded OSI, currently
     21 serves as Chairman and CEO, and has been a director of OSI since 1992.

     22 He also serves as CEO of the Company’s major subsidiaries. From 1976 to

     23 1979 and from 1980 to 1987, Chopra held various positions with ILC

     24 Technology, Inc., a publicly traded manufacturer of lighting products,

     25 including serving as Chairman, CEO, President, and Chief Operating

     26 Officer (“COO”) of its United Detector Technology division. He has also

     27 held various positions with Intel Corporation, TRW Semiconductors, and

     28 RCA Semiconductors.         Chopra holds a Bachelor of Science degree in
                                                6
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      1 Electronics and a Master of Science degree in Semiconductor Electronics.

      2 Chopra is the beneficial owner of 736,212 shares of OSI stock. He was paid

      3 $8,290,270 in total executive compensation for the fiscal year ending

      4 June 30, 2013.      Upon information and belief, Chopra is a citizen of
      5 California.

      6        19.    Defendant William F. Ballhaus, Jr. (“Ballhaus”) has served on
      7 the OSI Board since May 2010.               He is a member of the Audit,
      8 Compensation, and Technology Committees. From 2000 to 2007, Ballhaus

      9 served as President and then also as CEO of Aerospace Corporation.

     10 Between 1990 and 2000, his career included positions within the aerospace

     11 industry, including Corporate Vice President, Engineering and Technology

     12 for Lockheed Martin Corporation, and President, Aero and Naval Systems

     13 and President, Civil Space & Communications, both for Martin Marietta.

     14 Between 1971 and 1989, Ballhaus worked for NASA, including as Director of

     15 its Ames Research Center. Ballhaus serves on the Board of Directors of

     16 Draper Laboratory. He obtained a Ph.D. in Engineering in 1971 and a B.S.

     17 and M.S. in Mechanical Engineering in 1967 and 1968, all from the

     18 University of California at Berkeley.       Ballhaus is the beneficial owner of
     19 10,000 shares of OSI stock.        He was paid $298,470 in total director
     20 compensation for the fiscal year ending June 30, 2013. Upon information

     21 and belief, Ballhaus is a citizen of California.

     22        20.    Defendant David Feinberg (“Feinberg”) has served on the OSI
     23 Board since March 2010.         He serves as Chair of the Nominating and
     24 Governance Committee.        Feinberg is also a member of the Technology
     25 Committee. He has served as the President of the UCLA Health System

     26 since July 2011 and as CEO and Associate Vice Chancellor of the UCLA

     27 Health System since July 2007.           Prior to assuming these positions,
     28 Feinberg was the medical director of the Resnick Neuropsychiatric Hospital

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      1 (NPH) at UCLA. He is a professor of clinical psychiatry in the David Geffen

      2 School of Medicine at UCLA. Feinberg currently serves on the Board of

      3 Directors of Douglas Emmett, Inc., a publicly held Real Estate Investment

      4 Trust listed on the New York Stock Exchange. He graduated cum laude in

      5 economics from the University of California, Berkeley in 1984 and

      6 graduated with distinction from the University of Health Sciences/The

      7 Chicago Medical School in 1989.         He earned his Master of Business
      8 Administration from Pepperdine University in 2002.             Feinberg is the
      9 beneficial owner of 10,010 shares of OSI stock. He was paid $282,970 in

     10 total director compensation for the fiscal year ending June 30, 2013. Upon

     11 information and belief, Feinberg is a citizen of California.

     12        21.   Defendant Steven C. Good (“Good”) is a current director and
     13 has served on the Board since September 1987. He serves as the Chairman

     14 of the Audit Committee and as a member of the Compensation, Nominating

     15 and Governance, and Executive Committees. Good has been a consultant

     16 for the accounting firm of Cohn Reznick LLP since February 2010. Good

     17 founded the accounting firm of Good, Swartz, Brown & Berns (predecessor

     18 of Cohn Reznick LLP) in 1976 and served as an active partner until

     19 February 2010. He has been active in consulting and advisory services for

     20 businesses in various sectors, including the manufacturing, garment,

     21 medical services and real estate development industries.        Good founded
     22 California United Bancorp and served as its Chairman through 1993. From

     23 1997 until the company was sold in 2006, he served as a Director of Arden

     24 Realty Group, Inc., a publicly held Real Estate Investment Trust listed on

     25 the New York Stock Exchange.         Good currently serves as a Director of
     26 Kayne Anderson MLP Investment Company and Kayne Anderson Energy

     27 Total Return Fund, each of which is listed on the New York Stock

     28 Exchange.     He also currently serves as a Director of Rexford Industrial
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      1 Realty, Inc., a publicly held Real Estate Investment Trust listed on the New

      2 York Stock Exchange. Good also formerly served as a Director of California

      3 Pizza Kitchen, Inc. from 2005 to 2008, Youbet.com from 2006 to 2008,

      4 and the Walking Company Holdings, Inc. from 1997 to 2009. He holds a

      5 B.S. in Business Administration from the University of California, Los

      6 Angeles and attended its Graduate School of Business.          Good is the
      7 beneficial owner of 25,125 shares of OSI stock. He was paid $480,445 in

      8 total director compensation for the fiscal year ending June 30, 2013. Upon

      9 information and belief, Good is a citizen of California.

     10        22.   Defendant Meyer Luskin (“Luskin”) is a current director and
     11 has served on the Board since February 1990. He serves as the Chairman of

     12 the Compensation Committee and as a member of the Audit, Nominating

     13 and Governance, and Executive Committees. Since 1958, Luskin has served

     14 as a Director of Scope Industries, whose principal business is recycling and

     15 processing of food waste products into animal feed, and has also served as

     16 its President, CEO, and Chairman since 1961. He currently serves on the

     17 Board of Advisors of the Santa Monica – UCLA Medical Center and

     18 Orthopaedic Hospital and was formerly the Chairman.        Luskin is also a
     19 Director of the Orthopaedic Institute for Children (previously known as the

     20 Los Angeles Orthopaedic Hospital) and was formerly the Chairman. He is

     21 also a Director on the Advisory Board of the UCLA Luskin School of Public

     22 Affairs, a Director of the UCLA Foundation, a Director of the Alliance for

     23 College‑Ready Public Schools, and a Director of the Jazz Bakery. Luskin

     24 also served as a Director of Myricom, Inc., a computer and network

     25 infrastructure company.     He holds a Bachelor of Arts degree from the
     26 University   of California, Los Angeles and a Masters in Business
     27 Administration from Stanford University. Luskin is the beneficial owner of

     28 54,485 shares of OSI stock.       He was paid $480,445 in total director
                                               9
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      1 compensation for the fiscal year ending June 30, 2013. Upon information

      2 and belief, Luskin is a citizen of California.

      3        23.   Defendant Ajay Mehra (“Mehra”) is a current director and has
      4 served on the Board since March 1996. He is Executive Vice President of

      5 OSI and President of the Security Solutions business within the Rapiscan

      6 Systems division. Mehra joined the Company as Controller in 1989 and

      7 served as Vice President and Chief Financial Officer (“CFO”) from

      8 November 1992 until November 2002, when he was named Executive Vice

      9 President.    Prior to joining the Company, Mehra held various financial
     10 positions with Thermador/Waste King, a household appliance company,

     11 Presto Food Products, Inc., and United Detector Technology. He holds a

     12 Bachelor of Arts degree from the School of Business of the University of

     13 Massachusetts, Amherst and a Master of Business Administration degree

     14 from Pepperdine University.       Mehra is the beneficial owner of 326,399
     15 shares of OSI stock.         He was paid $3,446,424 in total executive
     16 compensation for the fiscal year ending June 30, 2013. Upon information

     17 and belief, Mehra is a citizen of California.

     18        24.   Defendant Alan Edrick is Executive Vice President and CFO of
     19 the Company.      He joined the Company in this role in September 2006.
     20 Between 2004 and 2006, Edrick served as Executive Vice President and

     21 CFO of BioSource International, Inc., a biotechnology company, until its

     22 sale to Invitrogen Corporation.      Between 1998 and 2004, he served as
     23 Senior Vice President and CFO of North American Scientific, Inc., a medical

     24 device and specialty pharmaceutical company.      Between 1989 and 1998,
     25 Edrick was employed by Price Waterhouse LLP in various positions

     26 including Senior Manager, Capital Markets. Edrick received his Bachelor of

     27 Arts degree from the University of California, Los Angeles and a Master of

     28 Business Administration degree from the Anderson School at the

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      1 University of California, Los Angeles.       Edrick is the beneficial owner of
      2 135,699 shares of OSI stock. He was paid $3,240,851 in total executive

      3 compensation for the fiscal year ending June 30, 2013. Upon information

      4 and belief, Edrick is a citizen of California.

      5        25.   Chopra, Mehra, Ballhaus, Feinberg, Good, and Luskin are
      6 collectively referred to as the “Director Defendants,” and, together with

      7 Edrick, as the “Individual Defendants” or “Defendants.”

      8               THE INDIVIDUAL DEFENDANTS’ DUTIES
      9        26.   By reason of their positions as officers and/or directors of the
     10 Company and because of their ability to control the business and corporate

     11 affairs of the Company, the Individual Defendants owed the Company and

     12 its shareholders the fiduciary obligations of good faith, loyalty, and candor,

     13 and were and are required to use their utmost ability to control and manage

     14 the Company in a fair, just, honest, and equitable manner. The Individual

     15 Defendants were and are required to act in furtherance of the best interests

     16 of the Company and its shareholders so as to benefit all shareholders

     17 equally and not to further their own personal interest or benefit.       Each
     18 director and officer of the Company owes to the Company and its

     19 shareholders the fiduciary duty to exercise good faith and diligence in the

     20 administration of the affairs of the Company and in the use and

     21 preservation of its property and assets, and the highest obligations of fair

     22 dealing.

     23        27.   As directors and/or officers of a publicly held company, the
     24 Individual Defendants had a duty to promptly disseminate accurate and

     25 truthful information with regard to the Company’s operations, finances,

     26 financial condition, and present and future business prospects, so that the

     27 market price of the Company’s stock would be based on truthful and

     28 accurate information.

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      1        28.   As directors and/or officers of OSI, the Individual Defendants
      2 had ultimate responsibility for ensuring that OSI complied with the law and

      3 federal regulations and that OSI’s business was conducted in an ethical

      4 manner.

      5        29.   The Individual Defendants, because of their positions of control
      6 and authority as directors and/or officers of OSI, were able to and did,

      7 directly and/or indirectly, exercise control over the wrongful acts

      8 complained of herein, as well as the contents of the various public

      9 statements issued by the Company. Because of their advisory, executive,

     10 managerial, and directorial positions with OSI, each of the Individual

     11 Defendants had access to non-public information about the financial

     12 condition, operations, sales and marketing practices, and improper

     13 business practices of OSI.

     14        30.   To discharge their duties, the officers and directors of the
     15 Company were required to exercise reasonable and prudent supervision

     16 over the management, policies, practices, and controls of the Company. By

     17 virtue of such duties, the Individual Defendants were required to, among

     18 other things:

     19              a.    exercise good faith to ensure that the affairs of the
     20        Company were conducted in an efficient, businesslike manner so as to
     21        make it possible to provide the highest quality performance of its
     22        business;
     23              b.    exercise good faith to ensure that the Company was
     24        operated in a diligent, honest, and prudent manner and that it
     25        complied with all applicable federal and state laws, rules, regulations,
     26        and requirements, and all contractual obligations, including acting
     27        only within the scope of its legal authority;
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      1              c.      properly and accurately guide investors and analysts as to
      2        the true financial condition of the Company at any given time,
      3        including making accurate statements about the Company’s business
      4        prospects, and ensuring that the Company maintained an adequate
      5        system of financial controls, so that the Company’s financial reporting
      6        would be true and accurate at all times;
      7              d.      remain informed as to how OSI conducted its operations
      8        and, upon receipt of notice or information of imprudent or unsound
      9        conditions or practices, make reasonable inquiry in connection
     10        therewith, take sufficient steps to correct such conditions or practices,
     11        and make such disclosures as necessary to comply with federal and
     12        state laws;
     13              e.      refrain from wasting OSI’s assets;
     14              f.      refrain from unduly benefiting themselves and other
     15        Company insiders at the expense of the Company; and
     16              g.      properly disclose all material information regarding the
     17        Company, required by applicable state and federal laws and/or their
     18        relevant duties, to OSI’s shareholders.
     19        31.   The conduct of the Individual Defendants complained of herein
     20 involves a knowing and culpable violation of their obligations as directors

     21 and officers of OSI, the absence of good faith on their part, and a reckless

     22 disregard for their duties to the Company and its shareholders that the

     23 Individual Defendants were aware, or should have been aware, posed a risk

     24 of serious injury to the Company.            The conduct of the Individual
     25 Defendants who were also directors and/or officers of the Company during

     26 the Relevant Period has been ratified by the remaining Individual

     27 Defendants, who collectively comprised all six members of OSI’s Board

     28 during the Relevant Period.

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      1        32.   The Individual Defendants’ actions have irreparably damaged
      2 OSI’s corporate image and goodwill. Moreover, the Individual Defendants

      3 have jeopardized the relationship with OSI’s two most important customers

      4 to such an extent that the Company’s ability to continue to contract with the

      5 DHS and TSA in the future is now imperiled.

      6        33.   The Individual Defendants breached their fiduciary duties by:
      7 (1) causing OSI to manipulate an operational test of its body scanners by

      8 “cherry-picking” sensors used for the test that were not representative of

      9 the scanners that were actually deployed at airports; (2) causing OSI to

     10 unlawfully use and misleadingly label an unapproved foreign-made part in

     11 its   baggage-screening     devices;   (3)    repeatedly   jeopardizing       OSI’s
     12 relationships with its two most important customers; (4) failing to maintain

     13 an adequate system of internal controls and oversight; and (5) causing OSI

     14 to make false and misleading positive statements about the Company and

     15 its outlook, and, therefore, subjecting the Company to possible liability and

     16 the cost of defending itself from a securities fraud class action lawsuit.

     17   COMMITTEES OF OSI’S BOARD AND ACCOMPANYING DUTIES
     18        34.   The composition of the Committees of OSI’s Board did not
     19 change during the Relevant Period.           Thus, at all relevant times, the
     20 composition of the Committees of OSI’s Board was as follows:

     21
          Director    Audit   Compensation Executive Nominating Technology
     22                                                 and
     23                                              Governance
          Steven     Chairman    Member     Member     Member       -
     24   Good
          Meyer      Member       Chairman          Member     Member             -
     25   Luskin
          David          -             -              -       Chairman       Member
     26
          Feinberg
     27   William    Member        Member             -            -         Member
          Ballhaus
     28

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      1 I.     Duties of the Audit Committee Members
      2        35.   During the Relevant Period, OSI’s Audit Committee, comprised
      3 of Defendants Good, Luskin, and Ballhaus, had direct oversight of and

      4 responsibility for OSI’s system of internal controls and the annual financial

      5 information provided to shareholders and the SEC.

      6        36.   During the Relevant Period, the Audit Committee’s Charter was
      7 “vague” and did not focus on OSI’s compliance with federal regulations

      8 applicable to its business with the federal government, even though such

      9 business was a core part of OSI’s business. OSI’s Board further failed to

     10 grant authority to a high-level executive at OSI to ensure compliance with

     11 applicable laws.

     12        37.   The Individual Defendants allowed OSI to languish without
     13 executive leadership in the compliance area until 2013 when, in the

     14 aftermath of OSI’s near debarment and for the first time, the Individual

     15 Defendants created the position of Director of Corporate Compliance. At

     16 that time, the Individual Defendants took steps to put in place an Ethics

     17 and Compliance Program Charter that clearly delegated authority and

     18 responsibilities to the Director of Corporate Compliance. The Ethics and

     19 Compliance Program Charter was to make clear that the Director of

     20 Corporate Compliance had an obligation to report to the Audit Committee

     21 so that OSI’s Board would finally have a formal structure in place to

     22 monitor compliance risks to the Company.        Prior to these reforms, the
     23 Audit Committee lacked any ability to receive reports regarding the

     24 Company’s compliance with federal laws and regulations.

     25        38.   However, even when the Director of Corporate Compliance
     26 gained the ability to report to the Audit Committee, he continued to fail to

     27 take his job seriously, and failed to meet with the Audit Committee on a

     28 regular basis.

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      1 II.    Duties of the Compensation Committee Members
      2        39.   According to the charter of OSI’s Compensation Committee,
      3 committee members are required to, among other things, evaluate the

      4 performance of the CEO and other executive officers of the Company and,

      5 based on such evaluation, review and approve the annual salary, bonus,

      6 stock options, and other benefits, direct and indirect, of the CEO and other

      7 executive officers; and review and recommend to the full Board of Directors

      8 compensation      of   directors,   as    well   as   directors’   and   officers’
      9 indemnification and insurance matters.

     10 III.   Duties of the Nominating and Governance Committee
               Members
     11
               40.   According to the charter of OSI’s Nominating and Governance
     12
          Committee, committee members may, among other things, develop and/or
     13
          recommend to the Board a set of corporate governance principles and keep
     14
          abreast of developments with regard to corporate governance to enable the
     15
          Committee to make recommendations to the Board in light of such
     16
          developments as may be appropriate; and consider, develop, and/or
     17
          recommend to the Board policies, procedures, guidelines, and studies with
     18
          respect to independence of directors, director qualifications, and corporate
     19
          governance principles.1
     20
                         CONTROL, ACCESS, AND AUTHORITY
     21
               41.   The Individual Defendants, because of their positions of control
     22
          and authority, were able to and did, directly or indirectly, exercise control
     23
          over the wrongful acts complained of herein, as well as the contents of the
     24
          various public statements issued by OSI.
     25

     26

     27   1    The charter for the Technology Committee is not publicly available.
     28

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      1        42.   Because of their advisory, executive, managerial, and directorial
      2 positions with OSI, each of the Individual Defendants had access to

      3 adverse, non-public information about the financial condition, operations,

      4 and improper representations of OSI.

      5        43.   Each of the Individual Defendants was the agent of each of the
      6 other Individual Defendants and of OSI, and was at all times acting within

      7 the course and scope of such agency.

      8                   CONSPIRACY, AIDING AND ABETTING,
      9                        AND CONCERTED ACTION
     10        44.   In committing the wrongful acts alleged herein, the Individual

     11 Defendants have pursued, or joined in the pursuit of, a common course of

     12 conduct, and have acted in concert with and conspired with one another in

     13 furtherance of their wrongdoing. The Individual Defendants further aided

     14 and abetted and/or assisted each other in breaching their respective duties.

     15        45.   During all times relevant hereto, the Individual Defendants

     16 collectively and individually initiated a course of conduct that was designed

     17 to and did conceal the fact that:

     18              a.      the     Company      was   improperly    recording   revenue,

     19        including the creation of non-existent revenue and booking revenue

     20        in a period earlier than when it was earned;

     21              b.      as a result, OSI’s revenue and financial results were

     22        overstated;

     23              c.      OSI’s    financial   statements   were    not   prepared   in

     24        accordance with the Generally Accepted Accounting Principles

     25        (“GAAP”);

     26              d.      the Company lacked adequate internal and financial

     27        controls; and

     28

                                                   17
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      1              e.   as a result of the foregoing, OSI’s financial statements
      2        were materially false or misleading at all relevant times.          In
      3        furtherance of this plan, conspiracy, and course of conduct,
      4        Defendants collectively and individually took the actions set forth
      5        herein.
      6        46.   The Individual Defendants engaged in a conspiracy, common
      7 enterprise, and/or common course of conduct.         During this time, they
      8 caused the Company to issue false or misleading financial results based

      9 upon non-existent revenue or based on revenue that was improperly

     10 recorded in a period earlier than when it was earned.

     11        47.   The purpose and effect of the Individual Defendants’
     12 conspiracy, common enterprise, and/or common course of conduct was,

     13 among other things, to: (a) disguise the Individual Defendants’ violations

     14 of law, including breaches of fiduciary duty, and unjust enrichment; and

     15 (b) disguise and misrepresent OSI’s future business prospects.

     16        48.   The Individual Defendants accomplished their conspiracy,
     17 common enterprise, and/or common course of conduct by causing the

     18 Company to falsely represent that the Company had adequate internal

     19 controls in place, and by purposefully, recklessly, or negligently causing the

     20 Company to release improper statements. Because the actions described

     21 herein occurred under the authority of the Board, each of the Individual

     22 Defendants was a direct, necessary, and substantial participant in the

     23 conspiracy, common enterprise, and/or common course of conduct

     24 complained of herein.

     25        49.   Each of the Individual Defendants aided and abetted and
     26 rendered substantial assistance in the wrongs complained of herein.        In
     27 taking such actions to substantially assist the commissions of the

     28 wrongdoing complained of herein, each Individual Defendant acted with

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      1 knowledge     of the primary wrongdoing, substantially assisted the
      2 accomplishment of that wrongdoing, and was aware of his or her overall

      3 contribution to and furtherance of the wrongdoing.

      4                      SUBSTANTIVE ALLEGATIONS
      5 I.     OSI and the Rapiscan Product
      6        50.   OSI, together with its subsidiaries, is a vertically integrated
      7 designer     and manufacturer of specialized electronic systems and
      8 components for “critical” applications.     OSI sells products and provides
      9 related services in diversified markets, including homeland security,

     10 healthcare, defense, and aerospace.       OSI has three operating divisions:
     11 (1) Security; (2) Healthcare; and (3) Optoelectronics and Manufacturing.

     12        51.   The Security division provides security and inspection systems,
     13 turnkey security screening solutions, and related services.       It designs,
     14 manufactures, markets, and services security and inspection systems under

     15 the “Rapiscan Systems” trade name. Rapiscan Systems products fall into

     16 the following categories: baggage and parcel inspection; cargo and vehicle

     17 inspection; checked baggage screening; people screening; and radiation

     18 detection. Rapiscan’s products employ advanced X-ray and neutron-based

     19 technology and computer imaging software to detect dangerous or

     20 otherwise contraband material, such as explosives, weapons, and narcotics.

     21 Rapiscan’s products are deployed at airports, prisons, border crossings,

     22 shipping     facilities, government facilities, amusement parks, banks,
     23 courthouses, sports arenas, and other venues with security concerns.

     24        52.   The   Healthcare    division    provides   patient   monitoring,
     25 diagnostic cardiology, and anesthesia systems.

     26        53.    The Optoelectronics and Manufacturing division provides
     27 specialized electronic components and electronic manufacturing services

     28 for the Security and Healthcare divisions, as well as to external original

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      1 equipment manufacturer clients for applications in the defense, aerospace,

      2 medical, and industrial markets, among others.

      3        54.   OSI is highly dependent on Rapiscan. According to OSI’s 2013
      4 Annual Report on Form 10-K, which was signed by all Individual

      5 Defendants, the Security division, and particularly the Rapiscan machines

      6 are of critical importance to OSI. Through its Security division, the

      7 Company designs, manufactures, markets and services security and

      8 inspection systems under the “Rapiscan Systems” trade name. Rapiscan

      9 Systems products fall into four categories—baggage and parcel inspection;

     10 cargo and vehicle inspection; hold (checked) baggage screening; and people

     11 screening.   They are used to search for weapons, explosives, drugs and
     12 other contraband as well as for the safe, accurate and efficient verification

     13 of cargo manifests for the purpose of assessing duties and monitoring the

     14 export and import of controlled materials.

     15        55.   The Security division is by far the largest division at OSI. In
     16 fiscal year 2012, the Security division revenues amounted to $391.8 million,

     17 or approximately 49% of the Company’s revenues. Rapiscan also accounted

     18 for revenues of $372.2 million, or approximately 46% of the Company’s

     19 total revenues, in fiscal year 2013.

     20        56.   Within Rapiscan, the largest single customer is the U.S.
     21 government, with individual government customers including the U.S.

     22 Customs and Border Protection, U.S. Department of Defense, and Federal

     23 Bureau of Prisons. Two of the most important customers of OSI’s Rapiscan

     24 Systems are the DHS and the TSA, one of the constituent agencies of the

     25 DHS. According to Bloomberg, from fiscal year 2009 through December

     26 2013, OSI received $463 million in U.S. government contracts, including

     27 $267 million in work for the DHS.

     28

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      1        57.   The Rapiscan division is so important that OSI’s Form 10-K
      2 contains a specific risk disclosure regarding its importance to the Company:

      3        Sales of security and inspection systems and turnkey security
      4        screening solutions often depend upon the decision of
               governmental agencies to upgrade or expand existing airports,
      5        border crossing inspection sites, seaport inspection sites,
      6        military facilities and other security installations. In the case of
               turnkey security screening solutions, the commencement of
      7        screening operations may be dependent on the approval, by a
      8        government agency, of the protocols and procedures that our
               personnel are to follow during the performance of their
      9        activities.
     10 OSI recognizes in its SEC filings that the loss of these government

     11 customers could have a negative effect on its reputation and could have a

     12 material adverse effect on its business, finances, and results of operations.

     13        58.   Further, in its Form 10-K filed with the SEC on August 16, 2013,
     14 OSI recognized some of the risks particular to government contracts,

     15 stating in part that such contracts:

     16
               typically contain provisions and are subject to laws and
     17        regulations that give the government agencies rights and
               remedies not typically found in commercial contracts, including
     18
               providing the government agency with the ability to
     19        unilaterally:
     20            terminate our existing contracts;
     21
                   reduce the value of our existing contracts;
     22
                   modify some of the terms and conditions in our existing
     23
                    contracts;
     24
                   suspend or permanently prohibit us from doing business
     25             with the government or with any specific government
     26             agency;
     27            control and potentially prohibit the export of our
     28
                    products;

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      1            cancel or delay existing multiyear contracts and related
                    orders if the necessary funds for contract performance for
      2             any subsequent year are not appropriated;
      3
                   decline to exercise an option to extend an existing
      4             multiyear contract; and
      5            claim rights in technologies and systems invented,
      6             developed or produced by us.
      7        Most U.S. government agencies and some other agencies with
               which we contract can terminate their contracts with us for
      8
               convenience, and in that event we generally may recover only
      9        our incurred or committed costs, settlement expenses and profit
               on the work completed prior to termination. If an agency
     10
               terminates a contract with us for default, we may be denied any
     11        recovery and may be liable for excess costs incurred by the
               agency in procuring undelivered items from an alternative
     12
               source. We may receive notices under such contracts that, if not
     13        addressed to the agency’s satisfaction, could give the agency the
               right to terminate those contracts for default or to cease
     14
               procuring our services under those contracts.           The U.S.
     15        government may also initiate administrative proceedings that, if
               resulting in an adverse finding against us or our subsidiaries as
     16
               to our present responsibility to be a U.S. government contractor
     17        or subcontractor, could result in our company or our
               subsidiaries being suspended for a period of time from
     18
               eligibility for awards of new government contracts or task
     19        orders or in a loss of export privileges and, if satisfying the
               requisite level of seriousness, in or debarment from contracting
     20
               with the U.S. government for a specified term as well as being
     21        subject to other remedies available to the U.S. government.
     22        59.   The ability of a governmental agency to terminate a contract is
     23 codified in the Code of Federal Regulations, Title 48 – Federal Acquisition

     24 Regulations System (“FAR”). A contract may be terminated, inter alia, “for

     25 convenience” or “for default.” Specifically:

     26              a.   A termination “for convenience” entails “the exercise of
     27        the Government’s right to completely or partially terminate
     28

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      1        performance of work under a contract when it is in the Government’s
      2        interest.” 48 C.F.R. Part 2.101.
      3              b.    A termination “for default” entails “the exercise of the
      4        Government’s right to completely or partially terminate a contract
      5        because of the contractor’s actual or anticipated failure to perform its
      6        contractual obligations.”     Id.; see also 48 C.F.R. Part 49 –
      7        Termination of Contracts.
      8        60.   Prior to termination, a government agency may send a “show
      9 cause” letter to a government contractor. These letters are sent when the

     10 government believes a contractor is not complying with the terms of its

     11 contract. They represent a last chance for the company to demonstrate that

     12 it has not violated the contract. Show cause letters are rare because most

     13 contractors endeavor to meet the government’s requirements.

     14        61.   Termination of a contract by the government is an even more
     15 extraordinary measure. For example, for the DHS in fiscal year 2007, out

     16 of 78,955 total contracts, only 767 were terminated – less than 1%.

     17 Terminations for default represent an even tinier fraction of government

     18 contracts. In fiscal year 2012, terminations for default represented only

     19 7.5% of all terminated contracts across all U.S. government agencies.

     20 Companies that have a contract terminated may have a more difficult time

     21 winning new business from that agency or other government agencies.

     22        62.   Because of the government’s unilateral ability to terminate
     23 contracts for convenience or default, meticulous compliance with the terms

     24 of government contracts was crucial to OSI.            Failure to remain in
     25 compliance could result in the abrupt cancellation of contracts on onerous

     26 terms and the failure of its government customers to renew or sign new

     27 contracts with OSI.

     28

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      1        63.   The federal suspension and debarment process is used to
      2 promote economy and efficiency in federal procurement by ensuring that

      3 the U.S. government conducts business only with responsible contractors.

      4 FAR Subpart 9.4 provides legal authority for federal agencies to suspend or

      5 debar an entity or individual (known as “Respondents”) on the basis of

      6 adequate evidence, or a preponderance of evidence respectively, of the

      7 commission of fraud or other conduct indicating a lack of business honesty.

      8        64.   Suspension is an action taken by the agency’s Suspension and
      9 Debarment Official (“SDO”) under FAR 9.407 or under Subpart G of the

     10 Nonprocurement Common Rule.             A suspended person or entity is
     11 disqualified temporarily from government contracting and government-

     12 approved subcontracting of covered transactions, pending completion of an

     13 agency investigation and any judicial or administrative proceedings that

     14 may ensue. Suspension is based on adequate evidence (i.e., a conviction is

     15 not required) of certain activities, such as commission of fraud or a criminal

     16 offense in connection with obtaining, attempting to obtain, or performing a

     17 public contract, as well as activities like commission of embezzlement,

     18 theft, tax evasion, violating federal criminal tax laws, or commission of any

     19 other offense indicating a lack of business honesty that seriously and

     20 directly affects the present responsibility of a government contractor or

     21 subcontractor.

     22        65.   Debarment is an action taken by the SDO under FAR 9.406 or
     23 under Subpart H of the Nonprocurement Common Rule.                A debarred
     24 person or entity is excluded from government contracting and government-

     25 approved subcontracting or covered transactions for a reasonable specified

     26 period. Debarment may be based on a Respondent’s conviction of a crime

     27 or a civil judgment for the same violations noted above, or for other causes

     28 like a determination by the Secretary of Homeland Security or the Attorney

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      1 General of the United States that the Respondent is not in compliance with

      2 the Immigration and Nationality Act employment provisions.

      3        66.   Debarment would be a crippling blow to the Company,
      4 precluding it from contracting with the DHS or TSA and thus depriving it of

      5 a significant source of revenue.

      6        67.   Despite these grave consequences, during the Relevant Period,
      7 the Individual Defendants allowed two major misconducts at Rapiscan to

      8 flourish on their watch, causing the Company to violate federal regulations,

      9 jeopardizing the Company’s relationship with its government customers,

     10 and putting a significant portion of its revenue at risk.

     11        68.   Given    the   fact   that    the   Security   division   represents
     12 approximately half of OSI’s revenues, it is no surprise that Rapiscan-related

     13 issues would be of vital interest to the Company and its shareholders.

     14 II.    The Individual Defendants Cause OSI to Fail to Upgrade
               Critical Software and to Manipulate Testing
     15
               69.   In the spring of 2009, the DHS announced that AIT systems,
     16
          also known as whole-body imaging, would be used as the primary screening
     17
          technique in U.S. airports. AIT technologies screen passengers for metallic
     18
          and non-metallic threats including weapons, explosives, and other
     19
          dangerous objects concealed under clothing.
     20
               70.   Rapiscan’s AIT system is the Secure 1000 Single Pose (“Secure
     21
          1000SP”). The Secure 1000SP operates in the following manner: a person
     22
          enters the scanning chamber, poses, and low-intensity X-rays quickly scan
     23
          the person.    The reflected X-rays are collected by detectors and a
     24
          “backscatter signal” from each point on the person is recorded. Imaging
     25
          software then processes the data and creates a two-dimensional image for
     26
          the operator to view. Metallic objects or other items appear darker than the
     27
          scanned person.
     28

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      1        71.   In September 2009, OSI announced that the TSA awarded the
      2 Company a $173 million Indefinite Delivery, Indefinite Quantity (“ID/IQ”)

      3 contract for its AIT systems, including the Secure 1000SP. At roughly the

      4 same time, the TSA awarded OSI’s principal competitor in the space, L-3, a

      5 similar contract.

      6        72.   Beginning in late 2009, and increasingly in 2010, however,
      7 privacy concerns emerged regarding the Secure 1000SP and other AIT body

      8 scanners. Travelers were offended by the revealing images produced, the

      9 lack of signage regarding the machines, and the absence of a meaningful

     10 alternative to the scans.     Privacy advocates objected to the machines’
     11 storage and transfer capabilities and the inadequacy of “privacy filters”

     12 installed on the machines.

     13        73.   On July 2, 2010, the Electronic Privacy Information Center
     14 sued the TSA, seeking a court order to halt the use of the scanners, saying

     15 that the devices were a danger to health, ineffective, and a breach of the

     16 Constitutional right to privacy. The U.S. Court of Appeals for the District of

     17 Columbia Circuit ultimately ruled that the TSA should have allowed for

     18 public comments to be submitted and considered before requiring

     19 passengers to undergo the revealing scans. The court ordered the TSA to

     20 initiate a public rulemaking process.

     21        74.   In response, the TSA put out a contract in August 2010 asking
     22 OSI and its principal competitor, L-3, to develop software to make the

     23 images less revealing.       The software, known as Automated Target
     24 Recognition (“ATR”), is designed to eliminate the “naked body” images

     25 produced by the previous generation of body scanners.         Rather than a
     26 passenger-specific image, ATR software displays a generic figure, and any

     27 anomalies are indicated by colored zones. The identification of an anomaly

     28 then allows the technician operating the scanner to administer additional

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      1 targeted resolution procedures, such as a pat-down or a scan with a metal-

      2 detecting wand.

      3         75.   Other companies began to upgrade their systems to include
      4 ATR technology.       L-3, the only OSI competitor awarded an AIT body-
      5 screening contract, had already completed its development and installation

      6 of ATR software on all its AIT scanners between July and September of

      7 2011.

      8         76.   On January 24, 2012, OSI hosted a conference call for investors
      9 and analysts to discuss quarterly results. On the call, Defendant Mehra

     10 made the following false statement in response to an analyst’s question:

     11         Analyst: [W]hat is the TSA telling you now about the potential
     12         for additional body scanner orders? There has been a lot of
                noise about the fears around backscatter.
     13

     14
                Defendant Mehra: Basically, we are working with TSA. It’s
                business as usual. We are actually going through some
     15         operational testing of our ATR, which is the Automatic Threat
     16
                Recognition system — basically takes away the image. So,
                we’re going through that process, working with them,
     17         and we expect that they will be looking at potential
                orders within the next few months.
     18
          [Emphasis added.]
     19
                77.   On February 14, 2012, Congress passed the FAA Modernization
     20
          and Reform Act of 2012 (P.L. 112-95), which required the updated, generic
     21
          imaging ATR software to be installed on all AIT equipment by June 1, 2012.
     22
                78.   OSI almost immediately encountered problems.          Its AIT
     23
          scanners employed 16 photomultiplier tubes (“PMTs”), which created
     24
          images for TSA agents to view onscreen. As the PMTs age, they generate
     25
          increased negative voltage. When OSI installed the generic image software
     26
          upgrade on the AIT systems with older PMTs, the negative voltage caused
     27
          the machines to no longer generate any images whatsoever.
     28

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      1        79.   This was problematic for two reasons: (1) older machines with
      2 aging PMTs already installed in airports would be rendered useless when

      3 the new software was installed; and (2) since all of the machines would

      4 eventually age, even newer machines would eventually be rendered useless.

      5        80.   In discussing OSI’s compliance with the U.S. government’s
      6 mandate, OSI repeatedly made representations to investors and in response

      7 to analysts’ questions, stating that it was “business as usual,” that the new

      8 software was “undergoing its final testing” and “we think that could lead to

      9 more sales in the future” or “within the next few months.”         In reality,
     10 however, Rapiscan encountered significant difficulties in developing the

     11 upgraded ATR software and OSI was not close to developing software that

     12 would satisfy the Congressional mandate.

     13        81.   Recognizing that it was not “business as usual,” that the
     14 software was not in “final testing,” and that the ATR software development

     15 program was suffering from significant delays, Rapiscan requested an

     16 extension of the TSA’s June 1, 2012 deadline. As he later testified before

     17 the U.S. House of Representatives Committee on Appropriations, TSA

     18 Administrator John Pistole granted a waiver of the deadline to May 31,

     19 2013, based on the appearance “that ATR certification was near.”

     20        82.   Even with the extension of the deadline, Rapiscan was unable to
     21 develop ATR software that would meet the required specifications. With

     22 that continuing failure as the backdrop, Rapiscan resorted to knowingly

     23 manipulating the TSA’s testing process to ensure that the ATR software

     24 would pass. To validate the need for an extension, the Company sent three

     25 machines to the TSA for testing to prove that a workable solution was close

     26 at hand. However, the three machines were hand-picked by OSI, such that

     27 they contained the newest photomultiplier tubes.

     28

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      1        83.   In other words, in order to create the impression that “ATR
      2 certification was near,” the Individual Defendants caused the Company to

      3 “cherry-pick” the few machines that were not encountering problems to

      4 send to the TSA for testing.     For example, according to the amended
      5 complaint in the securities fraud class action against some of the same

      6 Defendants,    Confidential Witness 2 stated that “there was some
      7 manipulation of the data on the part of the engineers.” Likewise, according

      8 to the amended complaint in the securities fraud class action, Confidential

      9 Witness 4 stated that former quality assurance director Robert Mosley

     10 would have been aware of any manipulation and that this information

     11 would have been known “all the way up to the president.” In addition, the

     12 securities fraud class action complaint alleged that Confidential Witness 1

     13 stated that these problems were also documented as Issue #8117 in the

     14 Rapiscan’s defect tracking database, which was allegedly accessible to all

     15 OSI’s management.

     16        84.   As one analyst observed, “the ATR software tested by TSA this
     17 summer required OSI’s ‘photo detectors’ to have a minimal amount of what

     18 is called ‘drift’ in order to pass through the testing properly.      When
     19 manufactured, not all these sensors have the same amount of ‘drift;’

     20 however, this was not a problem in the AIT machines whose images would

     21 be viewed by a human.       The problem was, the ATR software required
     22 sensors with minimal ‘drift,’ so to solve this OSI simply manually selected

     23 the best sensors that came off the line for the three AIT units sent for

     24 testing.” Not surprisingly, the three “pristine” Secure 1000SPs passed the

     25 TSA’s certification procedure.

     26        85.   Rather than inform the TSA and investors of its known inability
     27 to meet the deadline, the Individual Defendants continued to knowingly or

     28 with reckless disregard represent to the market throughout 2012 that OSI

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      1 was on track to comply with the TSA’s directive in a timely manner, stating,

      2 inter alia: (1) “We are actually going through some operational testing of

      3 our ATR . . . and we expect that [TSA] will be looking at potential orders

      4 within the next few months”; (2) “ATR [is] . . . undergoing its final testing

      5 as we speak”; and (3) “[W]e’re currently in testing, so we’ve completed on

      6 our side and the customer’s currently in testing. We’re hopeful that that

      7 could happen − that could be completed any time this summer.”

      8        86.   Months before November 2012, without disclosure to investors,
      9 OSI notified the TSA that Rapiscan was so far behind schedule that it would

     10 be unable to meet the extended deadline of May 31, 2013. OSI explained to

     11 the TSA that in order for Rapiscan’s ATR software to be functional, either

     12 the 250 Secure 1000SPs in the field would have to be upgraded, or

     13 Rapiscan would have to continue its efforts to develop ATR software that

     14 would work with lesser technology.        Notably, while OSI admitted its
     15 limitations to the TSA, the Company did not disclose to investors

     16 Rapiscan’s inability to meet the TSA’s deadline until much later.

     17        87.   Indeed, on an October 23, 2012 conference call with investors
     18 and analysts, Defendant Edrick was reassuring the public of OSI’s

     19 commitment to, and belief in, its Secure 1000SP product:

     20        Analyst: And then there were three different vendors that
     21        were awarded AIT to development contractors for next-
               generation body scanners. Rapiscan so far hasn’t received one
     22        of those development contracts. Is that a market opportunity
     23        you’re still pursuing?
     24        Defendant Chopra:          Tim, as you know, many, many
     25
               conference calls before — I remember Brian especially asking
               and I think you’re asking — our whole focus is a broad product
     26        portfolio. Definitely body scanners are an important
               portion of our portfolio, but it’s insignificant revenue. As a
     27
               matter of fact, I think Alan made a comment a couple of
     28        conference calls ago that our revenue intake in 2012 was zero.
                                             30
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      1
               Once we say that, it doesn’t mean that we don’t have a
               great product. There is a throughput issue that TSA feels at
      2        larger airports. The L3’s unit is faster than our unit. So they
      3
               decided that for that sake of the throughput, they would like to
               get more units of the faster speed, and are putting our units in
      4        the smaller airports. When you leave aviation away, the
      5
               throughput does not matter. Performance matters maybe
               more.
      6
               And we are very well entrenched into the non-aviation sector,
      7        especially the DOD and some of the high-security areas like
      8        nuclear facilities. We continue to pursue this area. And as you
               know, though we did not participate — we did not get a contract
      9        this time around, we do have an active ID/IQ with the
     10        TSA on our product, and we can always go back into
               it. Unfortunately, it’s true that we did not win it this time and
     11        we just continue to move forward.
     12 [Emphasis added.]

     13        88.   Also during the October 23, 2012 conference call, Defendant
     14 Chopra highlighted the Rapiscan business in his opening comments:

     15
               Reviewing the highlights for the quarter, starting
     16        with our Security division, Rapiscan revenues
               increased 14% to $83 million. During the quarter, we had
     17
               many key accomplishments that should serve as seeds for future
     18        growth. Highlighting a few of these activities, Rapiscan’s 620
               Dual View Baggage and Parcel Inspection System received the
     19
               European Standard 2 approval for threat detection of liquid
     20        explosives.
     21        The 620 DV can differentiate between threatening and benign
     22        liquids. I should note here that the 620DV has also
               been approved for use by the UK’s Department of
     23        Transport and the TSA in the US for both aviation
     24        checkpoint screening and air cargo screening. As
               mentioned earlier, we have the broadest product portfolio for
     25        air cargo screening compared to any of our competitors.
     26        620DV’s are in other applications also, such as military
               checkpoints, customs, and border security. 620DV is a part of a
     27        broad portfolio of checkpoint screening solutions that we
     28

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      1
                provide our customers to secure aviation and other critical
                infrastructure security.
      2
          [Emphasis added.]
      3
                89.   In the months preceding this call, OSI’s stock traded steadily
      4
          between approximately $70 and $80 per share.
      5
                90.   Soon thereafter, on November 9, 2012, the TSA delivered to OSI
      6
          a show cause letter related to the ATR software, which alleged that
      7
          Rapiscan had not disclosed issues related to the development process in a
      8
          timely or complete manner. Part of the letter questioned whether, prior to
      9
          testing, Rapiscan had installed sensors on three Secure 1000SP units that
     10
          did not conform to the sensors approved in the system’s configuration plan,
     11
          and, if so, whether Rapiscan had informed the TSA of that change in a
     12
          timely manner.
     13
                91.   On November 13, 2012, Congressman Mike Rogers, Chairman
     14
          of the House Transportation Security Subcommittee, sent a letter to TSA
     15
          Administrator John Pistole saying that a supplier of passenger-scanning
     16
          machines in United States airports, later confirmed to be Rapiscan, “may
     17
          have attempted to defraud the government by knowingly manipulating an
     18
          operational test” by falsifying tests of software intended to stop the
     19
          machines from recording graphic images of travelers.
     20
                92.   On November 14, 2012, OSI finally publicly admitted that its
     21
          earlier statements to both the TSA and investors were knowingly false and
     22
          misleading. Specifically, Peter Kant, an Executive Vice President, admitted
     23
          that Rapiscan became aware of an issue related to software under
     24
          development months previously and had promptly notified the TSA.
     25
                93.   Nonetheless, on November 15, 2012, the Individual Defendants
     26
          caused OSI to issue a press release denying that Rapiscan falsified test data.
     27

     28

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      1 The press release was filed with the SEC on Form 8-K (signed by Defendant

      2 Edrick):

      3        OSI Systems, Inc. (NASDAQ: OSIS), a vertically-integrated
      4        provider of specialized electronics and services, announced
               today that on November 9, 2012 Rapiscan Systems, its Security
      5        division, was delivered a show cause letter from the U.S.
      6        Transportation Security Administration (TSA). The letter,
               which pertains to a privacy system Rapiscan was developing
      7        under contract for the TSA, alleges that Rapiscan did not
      8        disclose issues related to the development process in a timely or
               complete manner. Contrary to some press reports, Rapiscan
      9        did not falsify test data; in fact, TSA testimony to Congress
     10        today confirms that this was at all times a government
               controlled test and that Rapiscan could not have manipulated
     11        any test data.
     12
               Furthermore, the evidence shows that Rapiscan delivered for
     13        testing the exact configuration previously disclosed to TSA and
               which TSA had approved. “At no time did Rapiscan Systems
     14
               falsify test data or engage in any fraudulent conduct,” OSI
     15        Systems President and CEO, Deepak Chopra, commented. “We
               take the matter very seriously and are fully cooperating with the
     16
               TSA during this process.”
     17
               94.   The market’s reaction to this news was swift. OSI common
     18
          stock closed at $76.29 on November 14, 2012. The following day, OSI
     19
          common stock plummeted approximately 30% to close at $54.89 on a
     20
          volume of more than 4.4 million shares traded. This was approximately 40
     21
          times the trailing three-month daily average volume and represented a
     22
          market cap loss of more than $100 million.
     23
               95.   On November 15, 2012, Bloomberg News ran an article
     24
          regarding OSI’s troubles, disclosing the following:
     25
               OSI Systems Inc.’s Rapiscan unit, one of two suppliers of
     26        passenger-scanning machines in U.S. airports, may have
     27        falsified tests of software intended to stop the machines from
               recording graphic images of travelers, a U.S. lawmaker said. . . .
     28

                                               33
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      1
               The company “may have attempted to defraud the
               government        by    knowingly       manipulating        an
      2        operational test,” Representative Mike Rogers, chairman of
      3
               the House Transportation Security Subcommittee, said in a
               letter to Transportation Security Administration chief John
      4        Pistole Nov. 13. Rogers said his committee received a tip about
      5
               the faked tests.

      6                                    *   *    *
      7        While Rogers’ letter doesn’t identify the company, his
               spokesman, Shea Snider, confirmed in an e-mail that he was
      8
               referring to Rapiscan.
      9
               OSI fell $22.97, or 30 percent, to $53.32 at 3:37 p.m., the
     10        biggest intraday decline since December 2000. More than 4.4
     11        million shares had changed hands, about 40 times the three-
               month daily average.
     12
                                           *   *    *
     13

     14        If wrongdoing is proven on the government contracts, Rapiscan
               could face fines, prison terms and a ban on government
     15        contracting, said Dan Gordon, former head of federal
     16        procurement for President Barack Obama’s administration.

     17        “Fake test results are incredibly serious,” said
               Gordon, now a dean at George Washington
     18
               University Law School in Washington. “Every false
     19        statement is a criminal act, sending someone in that
               company to jail.”
     20
          [Emphasis added.]
     21
               96.   Analysts quickly took note of the seriousness of the situation.
     22
          For example, on November 15, 2012, William Lee and Yair Reiner, analysts
     23
          at Oppenheimer, noted that “the TSA apparently concluded that Rapiscan
     24
          manipulated test results for a software algorithm it was developing to
     25
          enhance privacy features on its full body scanners. Attempts to defraud the
     26
          US govt. can in theory bring fines, imprisonment, or a ban on further
     27
          government contracting.” Further, they noted that “[t]he risk is that the
     28

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      1 probe     metastasizes   into   something    bigger,   threatening   Rapiscan's
      2 reputation.”

      3         97.   On November 16, 2012, Mike Greene, a securities analyst at
      4 Benchmark, wrote a note on OSI’s “cherry picking” of sensors it used for

      5 the test, stating:

      6         While we strongly agree that the company did not and could not
      7         have manipulated any test data, due to the fact that the TSA was
                in control of the product for the entirety of testing, it appears
      8         the company may have made some “grey area”
      9         changes to the product that it delivered for testing. As
                it turns out, the ATR software tested by TSA this summer
     10         required OSI’s “photo detectors” to have a minimal amount of
     11         what is called "drift" in order to pass through the testing
                properly. When manufactured, not all these sensors have the
     12         same amount of “drift;” however, this was not a problem in the
     13         AIT machines whose images would be viewed by a human. The
                problem was, the ATR software required sensors with minimal
     14         “drift,” so to solve this OSI simply manually selected the best
     15         sensors that came off the line for the three AIT units sent for
                testing. These scanners passed the testing, but when TSA
     16         wanted to fully deploy the new ATR software, it was told that
     17         all the 250 deployed OSI scanners would need to be upgraded
                to “minimal drift” photo detectors (or retested with software
     18         that could work with lower-quality detectors). So, while the
     19         headline that OSI “faked” a body scanner test is absolutely false,
                it does appear that OSI “cherry picked” sensors that
     20         made the test not representative of the scanners
     21         currently deployed at airports, without informing the
                TSA. [. . .] We understand why TSA would be upset with this,
     22         particularly if not informed of the difference between the test
     23         units and the overall deployed inventory in a timely fashion,
                and hypothesize the dispute largely comes from the sensors
     24         having the same “SKU” regardless of drift, resulting in a bit of a
     25         gray area change, in our view.

     26
          [Emphasis added.]

     27
                98.   Also on November 16, 2012, Tim Quillin, an analyst at

     28
          Stephens, commented: “We believe OSIS submitted 3 units to the TSA for

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      1 operational testing and evaluation in late spring or early summer. At some

      2 point, the Company realized that the perfect uniformity of the test units’ x-

      3 ray sensors might not be representative of fielded units, which typically

      4 have some drift from perfection.”

      5        99.   On January 17, 2013, OSI announced that the TSA had
      6 terminated its software contract with the Company and, furthermore, that

      7 OSI would have to bear the costs of removing all 174 remaining Rapiscan

      8 full-body scanners from airports, because the TSA concluded that the

      9 Company could not meet the congressional deadline to produce more

     10 generic passenger images.      A spokesperson for TSA confirmed that the
     11 government had terminated the contract “for convenience,” an unusual

     12 step. OSI concurrently disclosed that it planned to de-book the $5 million

     13 backlog related to ATR development and expected to incur a $2.7 million

     14 one-time impairment related to capitalized software development costs. As

     15 a result of this news, the price of OSI shares dropped $14.03 per share to

     16 $57.33, a decline of over 19%.

     17        100. Soon thereafter, the TSA signed a $245 million contract with
     18 American Science and Engineering, a company that uses the same

     19 backscatter technology as OSI, but had successfully developed privacy

     20 software.

     21        101. During the next regularly scheduled call with analysts on
     22 January 24, 2013, attended by Defendants Chopra and Edrick and others,

     23 Defendant Chopra gave short shrift to the issues with Rapiscan:

     24        First, as you know, Rapiscan Systems received a show cause
     25        letter from the TSA in November. We believe we have clarified
               all of the questions in the show cause letter to TSA. The final
     26        resolution of the show cause letter is subject to final disposition
     27        by the Department of Homeland Security and the Company is
               currently working diligently to complete that process.
     28

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      1        102. On the January 24, 2013 conference call, Defendant Chopra
      2 made an abrupt about-face, revealing that, despite numerous prior public

      3 assertions to the contrary, OSI lacked a commitment to complete the ATR

      4 project in the first place, stating that the cancellation of the contract would

      5 “allow[] [OSI] to stop the R&D spending on this program for which we saw

      6 a limited future beyond the TSA.” In addition, Defendant Chopra made the

      7 following false and misleading statement:

      8        Analyst: On the slowdown in the US Security business, was
      9        that related to anything with the TSA? Or was that related to
               Border Patrol? Where was the slowdown? Was there a specific
     10        agency that you saw the slowdown?
     11
               Defendant Chopra: Number one, we can categorically say
     12        there is no impact on the US business except for the AITD
     13
               booking. But we believe that it’s just — there’s just how
               everybody is sort of playing too close to the chest in the US until
     14        the budget is done.
     15        103. On April 24, 2013, Defendants hosted a conference call for
     16 investors and analysts and concealed that OSI was still at significant risk of

     17 being debarred from government contracting:

     18        Analyst: First question is on the body scanners. Is that issue
     19        100% behind us? Have you gotten the final letters? What’s left,
               if anything?
     20
               Defendant Chopra: Well, this is Deepak here, Brian. As we
     21
               mentioned in the last conference call, we have resolved our
     22        agreement with TSA. And we are working diligently with TSA
               to redeploy these units at other government agencies. And the
     23
               other thing is that — the other thing that we said on the last
     24        conference call with the DHS — there’s no change from the last
               conference call. We continue to work with them and there is no
     25
               progress or any conclusion on it.
     26
               104. According to a Form 8-K filed by OSI on May 20, 2013, the
     27
          Company reported that the DHS had issued a Notice of Proposed
     28

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      1 Debarment to OSI, in connection with the November 9, 2012 show cause

      2 letter. As the parent agency of the TSA, the DHS was required to sign off on

      3 any final agreement with OSI.        According to OSI’s Form 8-K, “The
      4 Company understands that the Notice alleges that Rapiscan failed to

      5 disclose a defect with the Products and replaced hardware in

      6 the Products without being granted proper governmental

      7 approval.” [Emphasis added.] As part of receiving the Notice, Rapiscan

      8 was automatically suspended from entering into new contracts with the

      9 DHS and its agencies, including the TSA. As a result of this news, the price

     10 of OSI shares dropped $8.05 per share to $53.25, a drop of over 13%.

     11        105. On June 21, 2013, OSI entered into a 30-month Administrative
     12 Agreement (“Administrative Agreement”) with the DHS related to the

     13 Notice of Proposed Debarment. That same day, OSI filed with the SEC a

     14 Form 8-K (signed by non-party Victor Sze), disclosing:

     15        On June 21, 2013, OSI Systems, Inc. subsidiaries Rapiscan
     16        Systems, Inc. and Rapiscan Government Services, Inc.
               (collectively, “Rapiscan”) entered into a 30-month
     17        Administrative Agreement (the “Agreement”) with the
     18        Department of Homeland Security (“DHS”). The Agreement
               resolves the May 17, 2013 DHS Notice of Proposed Debarment
     19        and automatic suspension of Rapiscan that became effective
     20        May 20, 2013. Rapiscan can continue its current and
               future      business    with  United      States   federal
     21        government agencies.
     22
               Pursuant to the terms of the Agreement, Rapiscan has
     23        agreed to certain compliance upgrades and
               organizational        improvements,          including
     24
               maintenance of a robust compliance program.
     25        Rapiscan has also made certain personnel changes
               and has created additional positions dedicated to
     26
               government       contracting      compliance       and
     27        administration, corporate compliance, and quality
               assurance. Further, for the duration of the term of the
     28

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      1
               Agreement, Rapiscan has agreed to the continued
               review of its compliance and ethics program,
      2        including the retention by Rapiscan of an
      3
               independent consultant to perform semi-annual
               assessments of its compliance policies, procedures,
      4        and practices. Rapiscan has also agreed to additional DHS
      5
               reporting requirements.
          [Emphasis added.]
      6
               106. The Administrative Agreement thus recognized and drew into
      7
          sharp relief the inadequacy of Rapiscan’s and OSI’s compliance and ethics
      8
          program, and the failure of the Board to establish programs and procedures
      9
          that would have prevented the events that led to the show cause letter and
     10
          Notice of Proposed Debarment from taking place. These failures would
     11
          later be corroborated by the Report, which listed a litany of failures and
     12
          deficiencies in OSI’s compliance scheme.
     13
               107. Nonetheless, with Defendant Chopra’s assurances that OSI was
     14
          “working” to remedy the issues the TSA had with Rapiscan, and with the
     15
          above Form 8-K’s statement that Rapiscan would “continue its current and
     16
          future business with the United States federal government,” OSI’s stock
     17
          price gradually recovered from the massive decline. By July 23, 2013, OSI’s
     18
          stock price had risen above $70 per share. However, the problems with
     19
          Rapiscan, Rapiscan management, and related internal controls were not
     20
          solved.
     21
          III. Rapiscan Uses Unapproved Chinese Parts in Its Baggage-
     22
               Screening Machines
     23        108. Despite being caught red-handed “cherry picking” sensors in its
     24 operational test, and despite nearly being barred from further government

     25 contracts, OSI, under the control of Defendants, continued to jeopardize its

     26 relationship with its most important customers by allowing its Rapiscan

     27 products to violate federal laws and regulations.

     28

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      1        109. On September 16, 2010, OSI announced that the TSA had
      2 awarded the Company a five-year, $325 million ID/IQ contract related to

      3 checkpoint     baggage and parcel scanners known as the Advanced
      4 Technology 2 (“AT-2”) contract, including Rapiscan’s 620DV. The 620DV

      5 uses single and dual-energy X-ray technology to scan briefcases, carry-on

      6 baggage, laptops, and small cargo parcels. The 620DV system’s dual view

      7 generates a horizontal and vertical view of the object under inspection. All

      8 U.S. government contracts for checkpoint baggage scanners, including

      9 those awarded to Rapiscan, contained terms prohibiting changes to parts or

     10 configurations without prior government approval. Further, the contract

     11 required all parts to be manufactured and assembled in the United States.

     12        110. Baggage and parcel inspection was one of OSI’s most important
     13 product lines.   In April 2012, Defendant Edrick described this area in a
     14 conference call for investors and analysts: “This has long been the bread

     15 and butter for Rapiscan and it’s a very nice product line.” Edrick made

     16 similar statements on the importance of this product line throughout the

     17 Relevant Period.

     18        111.   Rapiscan   delivered   hundreds   of   620DVs    to   the    U.S.
     19 government. On September 26, 2013, the TSA awarded Rapiscan a $67.1

     20 million contract for 550 620DV units pursuant to its September 2010 AT-2

     21 contract.

     22        112. Defendant Chopra boasted about this contract in the October
     23 23, 2013 conference call, in which Defendant Chopra stated in response to

     24 questions from an analyst:

     25        Analyst: And then I see Rapiscan has been awarded a
     26        checkpoint x-ray systems contract from TSA. Congratulations
               on that, by the way. It’s good to see TSA’s confidence in you. Is
     27        this currently in your Rapiscan backlog?
     28

                                              40
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      1
               Defendant Chopra: That’s true, Jeff.
               113. In truth, Rapiscan was using unapproved X-ray generators
      2
          manufactured abroad by Shanghai Advanced Non-destructive Equipment
      3
          Company, Ltd. (“SANDT”) to assemble and repair the 620DV scanner.
      4
          Rapiscan’s government contracts expressly prohibited configuration
      5
          changes without advanced approval from the TSA. Rapiscan did not obtain
      6
          the TSA’s approval and, to conceal the violation, misleadingly labeled the
      7
          unapproved components with the same part number as the originally
      8
          approved component.       As a result, at least 250 620DVs containing
      9
          unapproved components manufactured and assembled in China were
     10
          deployed in airports across the United States.
     11
               114. When OSI replaced some of its employees following the
     12
          revelation of the ATR software issue, the new team discovered that one of
     13
          the components that Rapiscan was using in the 620DVs required TSA
     14
          approval under the applicable contract, but that the Company had not
     15
          obtained it. Despite the fact that the Individual Defendants knew that the
     16
          Company was using unapproved parts — and therefore was in violation of
     17
          its contracts — Rapiscan bid on the $67.1 million 620DV contract.
     18
               115. According to the amended complaint in the securities fraud
     19
          class action, “[f]ormer employees confirmed that Rapiscan routinely
     20
          changed the configuration of one of its products without gaining approval
     21
          from the TSA in violation of the contracts’ terms.”
     22
               116. OSI’s wrongdoing vis-à-vis the government came to an end
     23
          when, on November 20, 2013, the TSA issued Rapiscan its second show
     24
          cause letter in twelve months, related to the use of unapproved components
     25
          in its 620DV scanners.     OSI’s wrongdoing vis-à-vis investors, however,
     26
          continued. Form 8-K disclosure and reporting requirements mandate that
     27
          public companies disclose material developments in their business within
     28

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      1 four business days. Here, the Individual Defendants did not disclose the

      2 second show cause letter to investors until December 9, 2013, 19 days later,

      3 a clear violation of the Form 8-K disclosure rules.

      4        117. On November 27, 2013, Rapiscan privately responded to the
      5 TSA’s allegations in the show cause letter.

      6        118. On December 5, 2013, the TSA sent Rapiscan a notice that the
      7 $67.1 million delivery order for 550 620DV units was being terminated for

      8 default.

      9        119. On December 6, 2013, the Individual Defendants caused a
     10 Form 8-K to be filed with the SEC (signed by Defendant Edrick), which

     11 stated:

     12        On December 5, 2013, OSI Systems, Inc. announced that its
     13        security division subsidiary, Rapiscan Systems, Inc.
               (“Rapiscan”) was notified by the U.S. Transportation Security
     14        Administration (TSA) that a delivery order placed with
     15        Rapiscan on September 26, 2013 for Advanced Technology X-
               Ray (AT-2) based systems was being terminated for default. As
     16        a result, the Company has de-booked this order which had a
     17        value of approximately $60 million.
     18        120. Again, Congress reacted harshly to the revelation of OSI’s

     19 conduct.    On December 6, 2013, several members of the U.S. House of

     20 Representatives Committee on Homeland Security, including Michael T.

     21 McCaul, Bennie Thompson, Richard Hudson, and Cedric Richmond, wrote

     22 a letter to the TSA stating the following:

     23        We write regarding the recent revelation that Rapiscan Systems
               (“Rapiscan”) violated terms of an existing procurement contract
     24
               with the Transportation Security Administration (TSA),
     25        resulting in the deployment of an estimated 250 Advanced
               Technology 2 (AT-2) x-ray baggage screening machines with
     26
               unapproved, untested components across the United States.
     27        Further, it is our understanding that these new components —
               inappropriately labeled with the same part number as the
     28

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      1
               originally approved component — were entirely manufactured
               and assembled in the People’s Republic of China by Shanghai
      2        Advanced Non-destructive Equipment Company, Ltd.
      3        We understand TSA has decided to rescind a $67 million order
      4        for an additional 550 new AT-2 systems and move forward with
               a recommendation to the Department of Homeland Security
      5        (DHS) for the debarment of Rapiscan.
      6
               Pursuant to Rule X and Rule XI of the U.S. House of
      7        Representatives, the Committee requests the following
               documents:
      8

      9        -    The Engineering Change Proposal (ECP) sent by Rapiscan
               to TSA on October 24, 2013;
     10
               -   The show cause notice sent by TSA to Rapiscan on
     11
               November 20, 2013, stating that Rapiscan was not in
     12        compliance with its contractual obligations;
     13        -     Rapiscan’s response to the notice to TSA on November 27,
     14        2013;
     15        -   TSA’s notice of award termination sent to Rapiscan on
               December 4, 2013;
     16

     17        -     Any documents in TSA’s possession pertaining to risk
               assessments of the potential for sabotage or espionage attempts
     18        of AT-2 machines; and
     19
               -    A parts list and description of those parts outsourced to
     20        China.
     21        121. On December 9, 2013, OSI publicly admitted its wrongdoing.
     22 Specifically, OSI admitted that the termination of the TSA contract resulted

     23 from Rapiscan’s use of an unapproved component in its AT-2 detection

     24 systems.     The press release also admitted a complete and systemic
     25 breakdown in Rapiscan’s quality assurance and contract compliance:

     26 “While the component change was vetted by Rapiscan’s internal quality

     27 assurance, it did not meet the contractual requirement of obtaining TSA’s

     28 approval in advance.” Quillen, an analyst at Stephens, concluded that use

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      1 of the unapproved and mislabeled generators was caused by “personnel and

      2 compliance shortfalls.”

      3        122. Also on December 9, 2013, Bloomberg News published an
      4 article which discussed these additional problems with Rapiscan and the

      5 TSA’s abrupt cancellation of a $60 million order. The article by Bloomberg

      6 News further disclosed the following in relevant part:

      7        OSI Systems Inc. fell as much as 40 percent, the biggest
      8        intraday drop ever, after lawmakers said the company may face
               a ban on U.S. contracts for using unapproved Chinese-made
      9        parts in baggage-screening equipment.
     10
               The disclosure came after the Transportation Security
     11        Administration canceled a $60 million order last week. The
     12
               TSA has resumed an effort to bar OSI’s Rapiscan Systems unit
               from future contracts, Representatives Michael McCaul, a Texas
     13        Republican, and Bennie Thompson, a Mississippi Democrat,
               said in a letter dated Dec. 6.
     14

     15        “TSA has strict requirements that all vendors must meet for
               security effectiveness and efficiency and does not tolerate any
     16        violation of contract obligations,” David Castelveter, a
     17        spokesman, said in an e-mail. “TSA is responsible for the safety
               and security of the nearly two million travelers screened each
     18        day.”
     19
               Shares fell 26.8 percent to $47.38 at 4 p.m. in New York.
     20        Earlier, they were at $39.00, lowest since October 2011.
               Trading volume was 7.94 million shares, 60 times the three-
     21
               month average.
     22
               OSI’s security division, which includes its work for the TSA,
     23        generated 46 percent of the company’s revenue in the last fiscal
     24        year, according to a 10-K filing dated Aug. 16.

     25        The contract raises questions about whether the unapproved
               component made the Rapiscan machines vulnerable to sabotage
     26
               or espionage, the lawmakers said. The House Homeland
     27        Security Committee, as part of a congressional investigation,
     28

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      1
               asked the TSA for documents relating to communications
               between the company and the government.
      2
               Ajay Vashishat, OSI Systems’ vice president for business
      3        development, didn’t respond to an e-mail and phone call
      4        seeking comment.
      5        A part in the machines made under the canceled contract was
      6
               manufactured in China, OSI Systems said in a news release
               today explaining why the TSA ended an order signed less than
      7        three months ago.
      8        OSI Systems, based in Hawthorne, California, said the company
      9        didn’t get TSA’s approval for the part, violating its contract.
     10                                   *   *    *
     11        Rapiscan averted debarment by the Department of Homeland
     12        Security last year over accusations it misled the TSA about
               testing of updated body-scanning machines. The company, in
     13        its 10-K, said Homeland Security could start debarment
     14        proceedings again if Rapiscan failed to live up to an agreement
               signed in June.
     15
               OSI had hundreds of the body-scanning machines removed
     16
               from U.S. airports earlier this year after the TSA concluded the
     17        company couldn’t meet a congressional deadline to make their
               revealing images more generic.
     18

     19        The company in June agreed with Homeland Security officials
               to hire new executives and reassign five senior managers.
     20        Rapiscan denied accusations by Representative Mike Rogers, an
     21        Alabama Republican, that it fabricated software tests.

     22        Since fiscal 2009, OSI Systems has received $463 million in
               U.S. government contracts, according to data compiled by
     23
               Bloomberg. The company received $267 million in Department
     24        of Homeland Security work over the same period.
     25        123. The market’s reaction to this news was significant.           OSI
     26 common stock closed at $71.72 on December 5, 2013.          By December 9,
     27 2013, OSI stock was down to $47.38, or more than 40%.

     28

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      1        124. Analysts confirmed that Rapiscan used unapproved Chinese
      2 parts long before Rapiscan’s bid on the $67.1 million contract. According to

      3 Quillin, “long before the bid, [Rapiscan] had swapped out a component of

      4 its checkpoint x-ray systems without concurrently notifying the TSA of the

      5 change.    Therefore, the x-ray system, as configured, was not officially
      6 certified.” Quillin also noted that the issue with the unapproved parts had

      7 been going on since “before OSIS’ previous kerfuffle with the TSA on the

      8 testing of its body scanners.”       Josephine Millward, an analyst from
      9 Benchmark, confirmed that “OSI replaced some of its employees after the

     10 body scanner problem and the new team . . . discovered that one of the

     11 components in the AT-2 system required advanced TSA approval . . . .”

     12 Oppenheimer summed it up as “procedural sloppiness.”

     13        125. On December 10, 2013, an analyst from Stephens noted that
     14 “[i]t is our understanding that at least 2 relatively senior Rapiscan

     15 managers, including its CTO of the past 20 years, were let go after this

     16 recent issue came to light.”

     17        126. This incident once again brought OSI to the brink of
     18 debarment. According to OSI: “As a result of this termination for default,

     19 the Security division has been referred to the U.S. Department of

     20 Homeland Security for further review. Although the results of this review

     21 cannot be determined at this time, among other consequences, the Security

     22 division could be barred from conducting future business with the U.S.

     23 federal government for a period of time.”

     24        127. On December 12, 2013, a federal securities fraud class action,
     25 Roberti v. OSI Systems, Inc., No. 13-cv-09174 (the “Securities Fraud

     26 Action”) was filed against OSI and its officers in the U.S. District Court for

     27 the Central District of California. The operative amended complaint in the

     28 Securities Fraud Action, filed on May 20, 2014, names Defendants Chopra

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      1 and Mehra, individually. That complaint was sustained and the motion to

      2 dismiss denied on February 27, 2015.

      3        128. On January 28, 2014, on a conference call with investors and
      4 analysts, Defendant Chopra made the following statements:

      5        As Rapiscan was preparing to execute on the new order [from
      6        TSA for 620DV units], our Management team uncovered a
               contract compliance concern. They found that a new, more
      7        reliable version of the X-ray generator component of the 620DV
      8        checkpoint inspection systems had not gone through the
               approval process by the TSA. And as a result, this
      9        generator component had made its way into Rapiscan’s
     10        replacement parts service inventory and into some of TSA’s
               current installed base at airports without TSA’s prior approval.
     11
               This became a problem because Rapiscan was
     12
               required to seek TSA’s approval before introducing
     13        the new version into TSA’s field population. Although
               the improved generator was more reliable, performed on par to
     14
               the prior generator and was provided into at no additional cost
     15        to the government, Rapiscan should have sought TSA’s
               approval prior to the change.
     16

     17        To summarize, the failure to obtain prior approval for
               the upgrade to the generator led to a series of events
     18        that resulted in the termination of the newly-awarded
     19        $60 million order from TSA for default. It should be
               noted that the generator in question, which cost Rapiscan
     20        slightly more than the older generator, was sourced from a
     21        reliable, well-known vendor that supplies to a number of x-ray
               security equipment manufacturers worldwide, not just
     22        Rapiscan. In addition, Rapiscan had significant experience with
     23        the new generator, as we have been using it successfully in our
               commercial fleet, which is substantially larger than our
     24        government fleet.
     25 [Emphasis added.]

     26        129. On the same call, Defendant Edrick noted the immediate
     27 impact of this second major failure by OSI:

     28

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      1
                Analyst: Okay and then just so I have it straight, are you
                planning to pro forma out professional fees, primarily legal and
      2         consulting, tied to the issue at hand with Homeland Security?
      3
                In other words, is that in your guidance or is that pro forma’d
                out?
      4
                Edrick: So they are various different aspects of that. Part of
      5         our program consists of, as Deepak was mentioning, bolstering
      6         our own internal people, policies, training, et cetera. Then
                there’s also direct costs we're incurring from outside,
      7         from a legal perspective. Some of those direct costs have
      8         been and we do intend to pro forma out; some of the other costs
                will just be part of our ongoing SG&A component.
      9
          [Emphasis added.]
     10
          IV.   False and Misleading Statements
     11
                130. During the Relevant Period, the Individual Defendants made
     12
          false and misleading statements that OSI and its products were in
     13
          compliance with OSI’s government contracts and all applicable laws and
     14
          regulations.
     15
                131. The Individual Defendants also consistently touted the strength
     16
          and healthy prospects of its TSA contracts, while failing to disclose that
     17
          OSI’s standard business practices were violating the terms of those
     18
          contracts and therefore putting OSI at a substantial risk of having those
     19
          contracts terminated, as described herein.
     20
                132. For example, on January 24, 2012, OSI hosted a conference call
     21
          for investors and analysts to discuss quarterly results.      On the call,
     22
          Defendant Mehra made the following false statement in response to an
     23
          analyst’s question:
     24
                Analyst: [W]hat is the TSA telling you now about the potential
     25
                for additional body scanner orders? There has been a lot of
     26         noise about the fears around backscatter.
     27         Defendant Mehra: Basically, we are working with TSA. It’s
     28         business as usual. We are actually going through some

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      1
                operational testing of our ATR, which is the Automatic Threat
                Recognition system — basically takes away the image. So, we’re
      2         going through that process, working with them, and we expect
      3
                that they will be looking at potential orders within
                the next few months.
      4
          [Emphasis added.]
      5
                133. On January 24, 2013, following the disclosure of the show cause
      6
          letter related to the ATR software, but before the disclosure of the Notice of
      7
          Debarment, the Individual Defendants hosted a conference call for
      8
          investors and analysts to discuss OSI’s quarterly results.      On the call,
      9
          Defendant Chopra made the following false and misleading statement:
     10
                Analyst: On the slowdown in the US Security business, was
     11         that related to anything with the TSA? Or was that related to
     12         Border Patrol? Where was the slowdown? Was there a specific
                agency that you saw the slowdown?
     13
                Defendant Chopra: Number one, we can categorically
     14
                say there is no impact on the US business except for
     15         the AITD booking. But we believe that it’s just — there’s just
                how everybody is sort of playing too close to the chest in the US
     16
                until the budget is done.
     17
          [Emphasis added.]
     18
                134. On April 24, 2013, the Individual Defendants hosted a
     19
          conference call for investors and analysts and concealed that OSI was still
     20
          at significant risk of being debarred from government contracting:
     21
                Analyst: First question is on the body scanners. Is that issue
     22         100% behind us? Have you gotten the final letters? What’s left,
     23         if anything?
     24         Defendant Chopra: Well, this is Deepak here, Brian. As we
                mentioned in the last conference call, we have resolved our
     25
                agreement with TSA. And we are working diligently with TSA
     26         to redeploy these units at other government agencies. And the
                other thing is that — the other thing that we said on the last
     27
                conference call with the DHS — there’s no change from the last
     28

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      1
                conference call. We continue to work with them and there is no
                progress or any conclusion on it.
      2
                135. The foregoing statements and other statements referenced in
      3
          this complaint were false and misleading when made because the
      4
          Individual Defendants knew but misleadingly failed to disclose the
      5
          following material, adverse facts:
      6
                      a.    as a result of technical difficulties and delays, Rapiscan
      7
                would be unable to deliver functional ATR software in accordance
      8
                with Congressional deadlines; and
      9
                      b.    Rapiscan knowingly manipulated the TSA’s ATR software
     10
                testing by “cherry-picking” three Secure 1000SP units that Rapiscan
     11
                knew would perform better than their typical units.
     12
                136. On the October 23, 2013 conference call, Defendant Chopra
     13
          stated in response to questions from an analyst:
     14
                Analyst: And then I see Rapiscan has been awarded a
     15         checkpoint x-ray systems contract from TSA. Congratulations
     16         on that, by the way. It’s good to see TSA’s confidence in you. Is
                this currently in your Rapiscan backlog?
     17

     18
                Defendant Chopra: That’s true, Jeff.
          [Emphasis added.]
     19
                137. These statements and other statements referenced herein were
     20
          false and misleading when made because the Individual Defendants knew
     21
          but misleadingly failed to disclose the following material, adverse facts:
     22
                      a.    OSI, in violation of its contractual requirements with the
     23
                TSA, used unapproved and untested X-ray generators that were
     24
                manufactured in China to assemble and repair the 620DV scanner;
     25
                      b.    Rapiscan improperly labeled the Chinese components
     26
                with the same part number as the originally approved component in
     27
                order to conceal its violation; and
     28

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      1              c.    the $67.1 million contract for 550 620DV scanners should
      2        never have been included in OSI’s backlog, because OSI was in
      3        violation of the contract providing the TSA with grounds to terminate
      4        the contract for default, which the TSA did immediately upon
      5        learning of the default.
      6        138. On August 13, 2012, the Individual Defendants caused the
      7 Company to file with the SEC on Form 10-K its year-end results for the

      8 fiscal year ended June 30, 2012, which was signed by each of the

      9 Defendants, and contained required certifications pursuant to Section 302

     10 of the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Chopra (“2012 10-K”).

     11 Addressing OSI’s internal controls over financial reporting, the 2012 10-K

     12 stated:

     13        Evaluation of Disclosure Controls and Procedures
     14
               As of June 30, 2012, the end of the period covered by this
     15        report, our management, including our Chief Executive Officer
     16
               and our Chief Financial Officer, reviewed and evaluated the
               effectiveness of our disclosure controls and procedures (as
     17        defined in Rule 13a-15(e) or 15d-15(e) of the Securities
     18
               Exchange Act of 1934, as amended). Such disclosure controls
               and procedures are designed to ensure that material
     19        information we must disclose in this report is recorded,
               processed, summarized and filed or submitted on a timely basis.
     20
               Based upon that evaluation our management, including our
     21        Chief Executive Officer and Chief Financial Officer, concluded
               that our disclosure controls and procedures were effective as of
     22
               June 30, 2012.
     23
               Management’s Report          on    Internal    Control    over
     24        Financial Reporting
     25
               Our management is responsible for establishing and
     26        maintaining adequate internal control over financial reporting
               (as such term is defined in Rule 13a-15(f) or 15d-15(f) of the
     27
               Securities and Exchange Act of 1934, as amended). Under the
     28        supervision and with the participation of management,
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      1
               including our Chief Executive Officer and Chief Financial
               Officer, we conducted an evaluation of the effectiveness of our
      2        internal control over financial reporting based on the
      3
               framework in Internal Control ‒ Integrated Framework issued
               by the Committee of Sponsoring Organizations of the Treadway
      4        Commission (COSO). Based on that evaluation, management
      5
               concluded that our internal control over financial reporting was
               effective as of June 30, 2012.
      6
               Changes in Internal Control over Financial Reporting
      7

      8
               There were no changes in our internal control over financial
               reporting during fiscal 2012 that have materially affected, or are
      9        reasonably likely to materially affect, our internal control over
               financial reporting.
     10
               139. On August 16, 2013, the Individual Defendants caused the
     11
          Company to file with the SEC on Form 10-K its year-end results for the
     12
          fiscal year ended June 30, 2013, which was signed by each of the Individual
     13
          Defendants, and contained required SOX certifications signed by Chopra
     14
          (“2013 10-K”). Addressing OSI’s internal controls over financial reporting,
     15
          the 2013 10-K stated:
     16

     17        Evaluation of Disclosure Controls and Procedures
     18        As of June 30, 2013, the end of the period covered by this
               report, our management, including our Chief Executive Officer
     19
               and our Chief Financial Officer, reviewed and evaluated the
     20        effectiveness of our disclosure controls and procedures (as
               defined in Rule 13a-15(e) or 15d-15(e) of the Securities
     21
               Exchange Act of 1934, as amended). Such disclosure controls
     22        and procedures are designed to ensure that material
               information we must disclose in this report is recorded,
     23
               processed, summarized and filed or submitted on a timely basis.
     24        Based upon that evaluation our management, including our
               Chief Executive Officer and Chief Financial Officer, concluded
     25
               that our disclosure controls and procedures were effective as of
     26        June 30, 2013.
     27

     28

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      1
               Management’s Report           on    Internal    Control     over
               Financial Reporting
      2
               Our management is responsible for establishing and
      3        maintaining adequate internal control over financial reporting
      4        (as such term is defined in Rule 13a-15(f) or 15d-15(f) of the
               Securities and Exchange Act of 1934, as amended). Under the
      5        supervision and with the participation of management,
      6        including our Chief Executive Officer and Chief Financial
               Officer, we conducted an evaluation of the effectiveness of our
      7        internal control over financial reporting based on the 1992
      8        framework in Internal Control ‒ Integrated Framework issued
               by the Committee of Sponsoring Organizations of the Treadway
      9        Commission (COSO). Based on that evaluation, management
     10        concluded that our internal control over financial reporting was
               effective as of June 30, 2013.
     11
               Changes in Internal Control over Financial Reporting
     12

     13        There were no changes in our internal control over financial
               reporting during fiscal 2013 that have materially affected, or are
     14        reasonably likely to materially affect, our internal control over
     15        financial reporting.
     16        140. These statements were false and misleading when made

     17 because the Individual Defendants knew but misleadingly failed to disclose

     18 the following material, adverse facts:

     19              a.   The Individual Defendants did not have sufficient

     20        personnel or resources with sufficient knowledge and expertise to

     21        ensure the Company’s compliance with governmental contracts; or to

     22              b.   ensure the proper administration of governmental

     23        contracts by the Company; or to

     24              c.   ensure that corporate compliance was maintained by the

     25        Company; or to

     26              d.   ensure that quality assurance was maintained in the

     27        Company’s products;

     28

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      1              e.      the Individual Defendants did not have in place any
      2        meaningful      process    to    evaluate     the   appropriateness     and/or
      3        effectiveness of the Company’s compliance policies; or to
      4              f.      ensure that strict compliance with government contracts
      5        was maintained at all times during the contract period; or to
      6              g.      ensure that the Company and its products that were sold
      7        to the U.S. government were compliant with federal law and
      8        regulation;
      9              h.      the Individual Defendants did not have in place proper
     10        policies and procedures to ensure that information required to be
     11        disclosed on Forms 10-Q, 10-K and/or 8-K, was processed, recorded,
     12        summarized, and reported within the time period specified in the
     13        SEC’s rules and forms; and
     14              i.      the Individual Defendants did not have in place proper
     15        policies and procedures to ensure that the changes in the Company’s
     16        internal controls over financial reporting which had materially
     17        affected, or were reasonably likely to materially affect, the Company’s
     18        internal   controls       over    financial    reporting    were      disclosed
     19        appropriately and in a timely manner.
     20 V.     OSI’s Board Knew that It Was Not Doing Its Job
     21        141. The Director Defendants, as directors of OSI, are responsible
     22 for ensuring that OSI complies with its legal and contractual duties, so as

     23 not to jeopardize its ability to conduct business with its largest customers.

     24 Part of that responsibility consists in setting the proper “tone at the top” of

     25 the organization, and in creating and enforcing adequate internal controls

     26 and policies and procedures for the compliance and ethics functions of the

     27 Company.      The Director Defendants utterly failed in this responsibility.
     28

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      1 They knew, or were reckless in not knowing, of the wrongdoing and,

      2 nonetheless, did nothing to prevent or stop it.

      3        142. Defendant Chopra was CEO of OSI, Edrick was Executive Vice
      4 President and CFO, and Mehra was President of Rapiscan throughout the

      5 Relevant Period. Due to their senior executive and management positions,

      6 Chopra, Edrick, and Mehra knew or should have known about the

      7 wrongdoing going on directly under their noses. Instead of acting to stop it,

      8 however, they made a series of false and misleading public statements, and

      9 sold millions of dollars’ worth of Company stock.

     10        143. Documents obtained from the 220 Demand show that between
     11 January 1, 2012 and November 15, 2012, the Board received no information

     12 concerning:

     13               a.   the TSA’s testing of OSI’s AIT technology;
     14               b.   the difficulties OSI had with meeting the TSA’s
     15        requirements;
     16               c.   Rapiscan’s compliance with TSA and DHS security
     17        policies and privacy policies;
     18               d.   Rapiscan’s    compliance       with   federal   Acquisition
     19        Regulations Systems regarding contract terms with the TSA and
     20        DHS;
     21               e.   whether OSI’s products contained foreign made products;
     22        and
     23               f.   the way that the Company accounted for contracts with
     24        the TSA and DHS.
     25 See Exhibit A (listing categories of documents demanded pursuant to 8 Del.

     26 C. §220).      Despite the fact that some of the non-executive director
     27 Defendants were paid close to half a million dollars per year to shoulder the

     28 “ultimate responsibility” for OSI’s compliance with the law, OSI’s directors

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      1 utterly failed to monitor OSI’s business to learn about potential compliance

      2 issues. In short, the Individual Defendants’ oversight of OSI was little more

      3 than a high-priced sham.

      4        144. The Board was subsequently briefed on the events leading up to
      5 the show cause letter and Congressman Rogers’ letter, as well as the

      6 discussions between OSI and the TSA and DHS. By then, however, it was

      7 too late; the damage to OSI had already been done. Such a pervasive, long-

      8 running scheme in one of OSI’s key product areas could not have gone

      9 undetected by a loyal Board adequately exercising its fiduciary duties.

     10        145. As the Individual Defendants knew, the gaping hole created by
     11 their failure to do their job was compounded by the fact that they allowed

     12 OSI to operate without a formal compliance structure capable of ensuring

     13 that OSI operated in a legal and ethical manner. The Report of the third-

     14 party consultant that OSI had to hire in order to avoid debarment described

     15 at length the many glaring shortcomings in OSI’s compliance regime. The

     16 Report assessed OSI’s compliance and ethics program against the

     17 requirements of Chapter 8 of the U.S. Federal Sentencing Guidelines

     18 (“FSG”), the FAR, other relevant regulations, and current best practices.

     19        146. The FSG requires seven general elements for a compliance and
     20 ethics program to be considered effective.      The FSG states, “The prior
     21 diligence of an organization in seeking to prevent and detect criminal

     22 conduct has a direct bearing on the appropriate penalties and probation

     23 terms for the organization if it is convicted and sentenced for a criminal

     24 offense.” FSG, §8B2.1, Commentary.

     25        147. The FAR requires that government contractors “conduct
     26 themselves with the highest degree of integrity and honesty.” 48 C.F.R.

     27 Part 3.1002. The FAR also requires companies with qualifying contracts to

     28

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      1 implement a compliance and ethics program that is in essence identical to

      2 the FSG. 48 C.F.R. Part 3.1004(a); 48 C.F.R. Part 52.203-13/14.

      3        148. OSI is also subject to the requirements of Sarbanes-Oxley and
      4 NASDAQ for corporate governance.

      5        149. The Report reveals an organization without the proper tools to
      6 detect and deal with compliance and ethics issues. The Report covered the

      7 following areas: Oversight; Standards and Procedures; Risk Assessment;

      8 Training and Education; Monitoring, Auditing & Investigations; and

      9 Incentives and Discipline. Major deficiencies were found in each of these

     10 areas, including:

     11        Oversight
     12
                    Prior to December 2012, OSI had no position for
     13        Director of Corporate Compliance (“DC”), and the
     14        position was not filled until May 2013. The Report found
               that the placement of the DC at the director level, and under the
     15        General Counsel of OSI indicated a lack of authority attached to
     16        the position, and a lack of independence from the General
               Counsel. At the time of the report, the DC had not been
     17        briefing the Audit Committee, had not been included
     18        in senior and executive meetings, and did not report
               directly to the Board or CEO.
     19
                    Historically, OSI had no separate and distinct budget for
     20
               its Compliance and Ethics Program; rather, various elements
     21        were funded through the Legal Department, Internal Audit, and
               Human Resources.
     22

     23        Standards and Procedures

     24             OSI’s then-current Code of Ethics and Conduct (the
               “Code”) was not derived from the results of corporate
     25
               compliance risk assessment, and lacked several best practices.
     26        OSI’s corporate policies more generally lacked organization,
               uniformity and many best practices.
     27

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      1            No compliance area within the Code was specific to
               government contracting or anti-corruption.
      2
                    The Code was not accessible, being written above the
      3
               recommended 6th-8th grade level, and without comprehension
      4        aids such as Q&As and FAQs.
      5             The Code referenced an ethics hotline, but required an
      6        employee to contact a Human Resources representative in order
               to access the number.
      7

      8
                    The Code mentioned “ethics” several times, but never
               gave any instruction on specific corporate values or the
      9        definition of what it meant to be “ethical.”
     10
                  The Code lacked a message from the CEO on the
     11        importance of the Code within OSI and the corporate
               commitment to integrity.
     12

     13             The non-retaliation statement was relatively hidden on
               the second-to-last page of the Code, and only applied to
     14        employees who reported – not to those who participated in an
     15        investigation.

     16             The “Doing Business With the Government Policy” lacked
               information on mandatory disclosure, including what must be
     17
               disclosed, and the process for raising issues.
     18
                   There was no policy on investigations: who
     19        would conduct them, or other important process
     20        steps.
     21              There was no formal independent policy on
     22        whistleblowing and retaliation. According to the Report, “it is
               critical to set forth in a corporate policy how employees may
     23        make reports, what the retaliation policy is, and how to report
     24        retaliation if it occurs.”

     25             The Code was not shared externally, with vendors,
               suppliers, and independent contractors, as called for by best
     26
               practices.
     27

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      1             The consulting firm did not review any policy that
               specifically related to timely disclosure of non-compliance or
      2        improper conduct related to government contracts, even though
      3        the FAR requires Rapiscan to have an internal control system
               that included those features.
      4
               Risk Assessment
      5

      6           OSI had no formal process to assess the risk of
               misconduct or criminal conduct in the organization.
      7        This risk assessment process is a fundamental
      8        requirement of the FSG and FAR.

      9        Training and Education
     10            Training efforts on compliance and ethics topics had
     11        dramatically increased only in the six months preceding the
               Report (i.e., since April 2013).
     12

     13
                    Not enough effort was put into retaliation training.

     14            Informal periodic communications had only recently
               begun that calendar year (i.e., 2013).
     15

     16        Monitoring, Auditing & Investigations

     17            OSI did not ask employees about their
               knowledge of misconduct in annual performance
     18
               reviews, annual certification of the Code or exit
     19        interviews.
     20            There was no written policy or procedure to
     21        designate authority for investigations or for the
               elevation of suspected misconduct to legal counsel or
     22        the DC.
     23
               Incentives & Discipline
     24
                    Misconduct was not benchmarked against the Code or
     25        policies and procedures.
     26
                   OSI had no incentives for meaningful participation in the
     27        Compliance and Ethics Program. According to the Report, this
     28
               was a “critical deficiency.” Absent performance measures tied

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      1
                to such participation, there was no incentive to comply with the
                program.
      2
          [Emphasis added.]
      3
                150. These deficiencies and others cited in the Report are clear
      4
          evidence of the dereliction of duties by Defendants, which led to the
      5
          breakdown in internal controls and compliance evidenced above.
      6
                151. Furthermore, because the Board knowingly failed to perform
      7
          the bare minimum amount of work necessary to monitor the Company, and
      8
          because the Board knowingly allowed the Company to operate without a
      9
          formal compliance structure capable of identifying compliance risks, the
     10
          Board also failed to properly monitor the public statements of Defendants
     11
          Chopra and Mehra. Thus, the breach of fiduciary duty by Good, Luskin,
     12
          Ballhaus, and Feinberg in totally abandoning their duty to oversee the
     13
          Company caused OSI, through its agents Chopra and Mehra, to violate the
     14
          federal securities laws by making false statements.
     15
          VI.   Accounting Violations
     16
                152. The Individual Defendants’ false statements and omissions
     17
          related to the ATR software and the $67.1 million contract for 620DVs
     18
          caused OSI’s financial statements to be materially false and misleading in
     19
          violation of GAAP. GAAP are those principles recognized by the accounting
     20
          profession as the conventions, rules, and procedures necessary to define
     21
          accepted accounting practices at a particular time. SEC Regulation S-X (17
     22
          C.F.R. §210.4-01(a)(1)) states that financial statements filed with the SEC
     23
          that are not prepared in compliance with GAAP are presumed to be
     24
          misleading and inaccurate, despite footnotes and other disclosures.
     25
          Regulation S-X requires that interim financial statements must also comply
     26
          with GAAP, with the exception that interim financial statements need not
     27

     28

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      1 include disclosures that would be duplicative of disclosures accompanying

      2 annual disclosures, per 17 C.F.R. §210.10- 01(a).

      3        153. To date, OSI has recorded at least $5.8 million in charges
      4 associated with the ATR contract and at least $2.7 million in charges

      5 related to the 620DV contract. OSI, has not, however, accounted for these

      6 charges in accordance with GAAP.      As a result, OSI’s financial statements
      7 were materially misstated throughout the Relevant Period, including the

      8 Company’s assets, income from operations, income before income taxes,

      9 net income, and earnings per share.

     10        A.       Failure to Properly Account for the Material Charges
                        Associated with the Wrongdoing
     11
               154. As set forth in Statement of Financial Accounting Concepts
     12
          (“SFAC”) No. 1, Objectives of Financial Reporting by Business Enterprises
     13
          (“SFAC 1”), one of the fundamental objectives of financial reporting is to
     14
          provide accurate and reliable information concerning an entity’s financial
     15
          performance for the period being presented. Specifically, SFAC 1 states
     16
          that financial reporting “should provide information about an enterprise’s
     17
          financial performance during a period. Investors and creditors often use
     18
          information about the past to help in assessing the prospects of an
     19
          enterprise.     Thus, although investment and credit decisions reflect
     20
          investors’ and creditors’ expectations about future enterprise performance,
     21
          those expectations are commonly based at least partly on evaluations of
     22
          past enterprise performance.”
     23
               155. Moreover, “the fair presentation of financial statements in
     24
          conformity with generally accepted accounting principles is an implicit and
     25
          integral part of management’s responsibility.” (AU §110.03.)
     26
               156. The accrual method of accounting requires that, when revenues
     27
          are recorded, costs associated with those revenues also be recorded. As
     28

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      1 provided in SFAC No. 5, Recognition and Measurement in Financial

      2 Statements of Business Enterprises (“CON 5”), the Company was required

      3 to record the appropriate level of expenses as it was generating revenue.

      4 This method required OSI to record a liability at the end of the period in

      5 which the liability was incurred. Paragraph 35 of SFAC No. 6, Elements of

      6 Financial Statements (“CON 6”) defines liabilities as “probable future

      7 sacrifices of economic benefits arising from present obligations of a

      8 particular entity to transfer assets or provide services to other entities in the

      9 future as a result of past transactions or events.” [Emphasis added.] In this

     10 context, “probable” is “used with its usual general meaning, rather than in a

     11 specific accounting or technical sense (such as that in [SFAS 5,] par. 3), and

     12 refers to that which can reasonably be expected or believed on the basis of

     13 available evidence or logic but is neither certain nor proved.” Similarly, the

     14 word “obligations” is “broader than legal obligations. It is used with its

     15 usual general meaning to refer to duties imposed legally or socially; to that

     16 which one is bound to do by contract, promise, moral responsibility, and so

     17 forth (Webster’s New World Dictionary, p. 981).” (Italics in original).

     18        157. Under CON 6, liability arises if: (1) there is “a present duty or
     19 responsibility to one or more other entities that entails settlement by

     20 probable future transfer or use of assets at a specified or determinable date,

     21 on occurrence of a specified event, or on demand,” (2) “the duty or

     22 responsibility obligates a particular entity, leaving it little or no discretion

     23 to avoid the future sacrifice,” and (3) “the transaction or other event

     24 obligating the entity has already happened.”

     25        158. In Accounting Standards Codification 450 (“ASC 450”),
     26 Contingencies, GAAP provides that:

     27

     28

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      1
                An estimated loss from a loss contingency shall be accrued
                by a charge to income if both of the following conditions are
      2         met:
      3         a.    Information available prior to issuance of the financial
      4         statements indicates that it is probable that an asset had
                been impaired or a liability had been incurred at the
      5         date of the financial statements . . . and
      6
                b.    The amount of loss can be reasonably estimated.
      7
          [Emphasis added.]
      8
                159. Statement of Financial Accounting Standards (“SFAS 146”),
      9
          Accounting for Costs Associated with Exit or Disposal Activities requires
     10
          that costs associated with the termination of a contract composed of either
     11
          (a) costs to terminate the contract before the end of its term or (b) costs
     12
          that will continue to be incurred under the contract for its remaining term
     13
          without economic benefit to the entity be recognized and measured at
     14
          their fair value in the reporting period in which the entity
     15
          terminates the contract in accordance with the contract terms.
     16
          SFAS 146 requires that such costs be recognized and measured at their fair
     17
          value in the period in which the liability is incurred or, in the unusual
     18
          circumstance in which fair value cannot be reasonably estimated, the
     19
          liability shall be recognized initially in the period in which fair value can be
     20
          reasonably estimated.
     21
                160. SFAS No. 154, Accounting Changes and Error Corrections,
     22
          which was incorporated in ASC 250, Accounting Changes and Error
     23
          Corrections, states:
     24
                A change in accounting estimate shall be accounted for in
     25         (a) the period of change if the change affects that period only or
     26         (b) the period of change and future periods if the change affects
                both. A change in accounting estimate shall not be
     27         accounted for by restating or retrospectively
     28         adjusting amounts reported in financial statements of

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      1
               prior periods or by reporting pro forma amounts for
               prior periods.
      2
               Change in accounting estimate - a change that has the
      3        effect of adjusting the carrying amount of an existing asset or
      4        liability or altering the subsequent accounting for existing or
               future assets or liabilities. A change in accounting estimate is a
      5        necessary consequence of the assessment, in conjunction with
      6        the periodic presentation of financial statements, of the present
               status and expected future benefits and obligations associated
      7        with assets and liabilities. Changes in accounting estimates
      8        result from new information.
      9 [Emphasis added.]

     10        161. In stark contrast to SFAS 154, ASC 250, which incorporated

     11 Accounting Principles Board Opinion No. 20 (“APB 20”), Accounting

     12 Changes, provides, in relevant part, that:

     13        Restating financial statements of prior periods may dilute
               public confidence in financial statements and may confuse
     14
               those who use them. Financial statements previously prepared
     15        on the basis of accounting principles generally accepted at the
               time the statements were issued should therefore be considered
     16
               final except for changes in the reporting entity or corrections of
     17        errors.
     18                                     * * *
     19
               Errors in financial statements result from mathematical
     20        mistakes, mistakes in the application of accounting principles,
               or oversight or misuse of facts that existed at the time the
     21
               financial statements were prepared.
     22
                                            * * *
     23
               If a change or correction has a material effect on income before
     24
               extraordinary items or on net income of the current period
     25        before the effect of the change, the treatments and disclosures
               described in this Opinion should be followed.
     26

     27

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      1        162. APB 20 states that “[a]ny error in the financial statements of a
      2 prior period discovered subsequent to their issuance shall be reported as a

      3 prior-period adjustment by restating the prior-period financial statements.”

      4        163. Based on the foregoing, below is a summary of the charges
      5 recorded in OSI’s financial statements related to the cancellation of the

      6 ATR software contract and the cancellation of the 620DV contract between

      7 second quarter of fiscal year 2012 and third quarter of fiscal year 2014:

      8
             Quarter Ended           Reporting        ATR-Related         620DV-
                                      Period            Charges              Related
      9                                                                      Charges
              December 31, 2011       2Q 2012               $0                 $0
     10
                March 31, 2012        3Q 2012               $0                  $0
     11          June 30, 2012        4Q 2012               $0                  $0

     12      September 30, 2012       1Q 2013               $0                  $0
              December 31, 2012       2Q 2013         $2.7 million              $0
     13         March 31, 2013        3Q 2013               $0                  $0
     14          June 30, 2013        4Q 2013         $1.5 million              $0
             September 30, 2013       1Q 2014         $1.6 million              $0
     15
              December 31, 2013       2Q 2014               $0              $0.9 million
     16         March 31, 2014        3Q 2014               $0              $1.8 million

     17        164. The Individual Defendants’ accounting for these costs was
     18 improper and in violation of GAAP for the following reasons:

     19                a.     The Individual Defendants violated ASC 250, APB 20,
     20       SFAS 154, SFAS 5, SFAS 146, CON 5, CON 6, and ASC 450 because
     21       they failed to record the charges during the Relevant Period when
     22       they became probable and estimable.                    Indeed, as detailed
     23       herein, the Individual Defendants were aware from the beginning of
     24       the Relevant Period that they would be unable to meet the TSA’s
     25       directive regarding ATR software in a timely manner. Furthermore,
     26       the Individual Defendants knew or should have known throughout the
     27       Relevant Period — and had actual knowledge as of the quarter ending
     28

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      1       December 31, 2012 — that the Company was using unapproved,
      2       untested, and mislabeled Chinese parts in its 620DV units.
      3              b.   The Individual Defendants violated FAS 146 because they
      4       failed to concurrently recognize the entirety of the charges. Rather
      5       than “spreading” portions of the ATR contract charge over several
      6       reporting periods, the Individual Defendants were required to disclose
      7       and record the full $5.8 million when the charge became probable and
      8       estimable — i.e., during the quarter ending December 31, 2011.
      9       Likewise, the Individual Defendants were required to disclose and
     10       record the full $2.7 million 620DV contract charge once it became
     11       probable and estimable — i.e., at the very latest once they acquired
     12       actual knowledge of the issue in the quarter ending June 30, 2013.
     13              c.   The Individual Defendants improperly classified the
     14       charges as “impairment, restructuring and other charges,” instead of
     15       the appropriate line item in the Company’s financial statements. The
     16       Individual Defendants were aware that investors and analysts
     17       considered “impairment, restructuring and other charges” one-time
     18       costs and that such expenses were not as significant to OSI’s stock
     19       price as metrics such as income from operations, income before
     20       income taxes, net income, and earnings per share. By classifying the
     21       charges as “impairment, restructuring and other charges,” the
     22       Individual Defendants were able to consistently report
     23       “record financial results” that met or exceeded analysts’
     24       expectations during the entire Relevant Period, driving the
     25       stock price significantly, but artificially, higher.
     26              d.   The Individual Defendants violated SFAS 154, ASC 250,
     27       and APB 20 because they accounted for the charges as “changes in
     28       accounting estimates,” rather than as errors. No new information has
                                             66
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      1       been discovered, since the Individual Defendants became aware that
      2       these contracts would be terminated, that would justify accounting for
      3       these charges as “changes in accounting estimates.” Rather, these
      4       charges should have been accounted for as errors and OSI should have
      5       restated its Relevant Period financial statements.
      6        165. If Defendants would have recorded the $5.8 million and the
      7 $2.7 million charges associated with the “show cause” letters in accordance

      8 with GAAP, the effect on the Company’s quarterly financial statements in

      9 any one quarter during the Relevant Period would have been material:

     10                a.   2Q12 (quarter ending December 31, 2011): At the
     11        time that OSI’s 2Q12 financial statement was issued, the Individual
     12        Defendants were aware that (i) Rapiscan was suffering significant
     13        technological difficulties in the development of ATR software for
     14        which costs should not have been capitalized; (ii) the technological
     15        difficulties were causing severe delays; and (iii) Rapiscan would be
     16        unable to complete the contract at all. Accordingly, under GAAP, the
     17        Individual Defendants should have caused OSI to record a
     18        $5.8 million charge related to costs associated with the ATR contract.
     19        The Individual Defendants did not record such a charge. Had they
     20        done so, the effect on OSI’s financial statement for the quarter ending
     21        December 31, 2011 would have been as follows:
     22
                                       December 31, 2011 – 2nd Quarter 2012
     23   (in thousands
          except EPS)       Reported Misstatement   Adjusted       Impact ($)   Impact (%)
     24
          Income from
     25   Operations         $18,299   $(5,800)      $12,499       $(5,800)      -31.70%

     26   Income before
          Income Taxes       $17,578   $(5,800)      $11,778       $(5,800)      -33.00%
     27   Net Income         $12,301   $(5,800)      $6,501        $(5,800)      -47.15%
     28

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      1                                 December 31, 2011 – 2nd Quarter 2012
          (in thousands
      2   except EPS)        Reported Misstatement     Adjusted   Impact ($)   Impact (%)
          Basic Earnings
      3
          Per Share            $0.62                    $0.33      $(0.29)      -47.15%
      4   Diluted Earnings
          Per Share            $0.61                    $0.32       (0.29)      -47.15%
      5

      6               b.     3Q12 (quarter ending March 31, 2012): At the time

      7        that OSI’s 3Q12 financial statement was issued, the Individual

      8        Defendants were aware that (i) Rapiscan was suffering significant

      9        technological difficulties in the development of ATR software for

     10        which costs should not have been capitalized; (ii) the technological

     11        difficulties were causing severe delays; and (iii) Rapiscan would be

     12        unable to complete the contract at all. Accordingly, under GAAP, the

     13        Individual Defendants should have caused OSI to record a

     14        $5.8 million charge related to costs associated with the ATR contract.

     15        The Individual Defendants did not record such a charge. Had they

     16        done so, the effect on OSI’s financial statement for the quarter ending

     17        March 31, 2012 would have been as follows:

     18                                   March 31, 2012 – 3rd Quarter 2012
          (in thousands,
     19   except EPS)        Reported   Misstatement   Adjusted   Impact ($)   Impact (%)
     20   Income from
          Operations          $18,205     $(5,800)      $12,405   $(5,800)      -31.86%
     21
          Income before
     22   Income Taxes        $17,431     $(5,800)      $11,631   $(5,800)      -33.27%

     23   Net Income          $12,575     $(5,800)      $6,775    $(5,800)      -46.12%
          Basic Earnings
     24   Per Share            $0.63                     $0.34     $(0.29)      -46.12%
     25   Diluted Earnings
          Per Share            $0.62                     $0.33     $(0.29)      -46.12%
     26
                      c.     4Q12 (quarter ending June 30, 2012): At the time
     27
               that OSI’s Fiscal Year End 2012 financial statement was issued, the
     28

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      1        Individual Defendants were aware that (i) Rapiscan was suffering
      2        significant technological difficulties in the development of ATR
      3        software for which costs should not have been capitalized; (ii) the
      4        technological      difficulties     were   causing      severe   delays;    and
      5        (iii) Rapiscan would be unable to complete the contract at all.
      6        Accordingly, under GAAP, the Individual Defendants should have
      7        caused OSI to record a $5.8 million charge related to costs associated
      8        with the ATR contract. The Individual Defendants did not record
      9        such a charge.       Had they done so, the effect on OSI’s financial
     10        statement for the quarter ending June 30, 2012 would have been as
     11        follows:
     12
                                                 June 30, 2012 – 4th Quarter 2012
     13   (in thousands,
          except EPS)           Reported   Misstatement     Adjusted     Impact ($)   Impact (%)
     14
          Income from
     15   Operations            $21,826      $(5,800)       $16,026       $(5,800)     -26.57%

     16   Income before
          Income Taxes          $20,181      $(5,800)       $14,381       $(5,800)     -28.74%
     17   Net Income            $15,911      $(5,800)       $10,111       $(5,800)     -36.45%
     18   Basic Earnings Per
          Share                  $0.81                       $0.51        $(0.30)      -36.45%
     19   Diluted Earnings
     20   Per Share              $0.78                       $0.50        $(0.28)      -36.45%

     21               d.       1Q13 (quarter ending September 30, 2012):                    As
     22        discussed above, the Individual Defendants should have caused OSI
     23        to record a $5.8 million charge related to costs associated with the
     24        ATR contract.        Had they done so, the effect on OSI’s financial
     25        statement for the quarter ending September 30, 2012 would have
     26        been as follows:
     27

     28

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                                         September 30, 2012 – 1st Quarter 2013
      1
          (in thousands,
      2   except EPS)         Reported   Misstatement   Adjusted   Impact ($)   Impact (%)
          Income from
      3
          Operations          $10,114      $(5,800)     $4,314     $(5,800)      -57.35%
      4   Income before
          Income Taxes         $9,017      $(5,800)     $3,217     $(5,800)      -64.32%
      5
          Net Income           $6,339      $(5,800)      $539      $(5,800)      -91.50%
      6   Basic Earnings
          Per Share            $0.32                     $0.03      $(0.29)      -91.50%
      7
          Diluted Earnings
      8   Per Share            $0.31                     $0.03      $(0.28)      -91.50%
      9                e.    2Q13 (quarter ending December 31, 2012): During
     10        the quarter, the Individual Defendants recorded a $2.7 million charge
     11        associated with the ATR show cause letter, and the cancellation of the
     12        ATR software contract. Nevertheless, under GAAP, they should have
     13        recorded an additional $3.1 million charge so that the full
     14        $5.8 million charge was incurred. Had the Individual Defendants
     15        done so, the effect on OSI’s financial statement for the quarter ending
     16        December 31, 2012 would have been as follows:
     17
                                         December 31, 2012 – 2nd Quarter 2013
     18   (in thousands,
          except EPS)         Reported   Misstatement   Adjusted   Impact ($)   Impact (%)
     19
          Income from
     20   Operations          $18,678      $(3,100)     $15,578     $(3,100)     -16.60%
     21   Income before
          Income Taxes        $17,293      $(3,100)     $14,193     $(3,100)     -17.93%
     22   Net Income          $12,421      $(3,100)      $9,321     $(3,100)     -24.96%
     23   Basic Earnings
          Per Share            $0.62                     $0.47       $(0.15)     -24.96%
     24
          Diluted Earnings
     25   Per Share            $0.60                     $0.45       $(0.15)     -24.96%

     26                f.    3Q13 (quarter ending March 31, 2013):                   The
     27        Individual Defendants had previously recorded a $2.7 million charge
     28

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      1        associated with the ATR show cause letter, and the cancellation of the
      2        ATR software contract. Nevertheless, under GAAP, they should have
      3        recorded an additional $3.1 million charge so that the full
      4        $5.8 million charge was incurred. Had the Individual Defendants
      5        done so, the effect on OSI’s financial statement           for the quarter
      6        ending March 31, 2013 would have been as follows:
      7
                                             March 31, 2013 – 3rd Quarter 2013
      8   (in thousands,
          except EPS)           Reported   Misstatement   Adjusted   Impact ($)   Impact (%)
      9
          Income from            $19,414     $(3,100)     $16,314    $(3,100)      -15.97%
     10   Operation
     11   Income before
          Income Taxes           $18,073     $(3,100)     $14,973    $(3,100)      -17.15%
     12   Net Income             $13,529     $(3,100)     $10,429    $(3,100)      -22.91%
     13   Basic Earnings Per
          Share                  $0.68                    $0.52      $(0.16)       -22.91%
     14   Diluted Earnings
     15   Per Share              $0.66                    $0.51      $(0.15)       -22.91%

     16               g.       4Q13 (quarter ending June 30, 2013): During the
     17        quarter, the Individual Defendants recorded a $1.5 million charge
     18        associated with the ATR show cause letter, and the cancellation of the
     19        ATR software contract (and the Individual Defendants had previously
     20        recorded a $2.7 million charge related to the same). Nevertheless,
     21        under GAAP, they should have recorded an additional $1.6 million
     22        charge, so that the full $5.8 million charge was incurred. Additionally,
     23        at the time that OSI’s Fiscal Year End 2013 financial statements were
     24        issued, the Individual Defendants were aware that, in violation of its
     25        U.S. government contracts, Rapiscan had used unapproved Chinese
     26        parts in its checkpoint baggage and parcel scanners, including the
     27        620DV. Accordingly, under GAAP, the Individual Defendants should
     28        have caused OSI to record at least a $2.7 million charge related to

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      1        costs    associated    with     disclosure    of    the   violation,   including
      2        replacement       of   the    improper      parts   and     resolution    of   an
      3        administrative proceeding with the U.S. government.                      Had the
      4        Individual Defendants properly recorded the $1.6 million ATR-
      5        related charge, along with the $2.7 million checkpoint scanner
      6        charge, the effect on OSI’s financial statement for the quarter ending
      7        on June 30, 2013 would have been as follows:
      8
                                               June 30, 2013 – 4th Quarter 2013
      9   (in thousands,
          except EPS)           Reported    Misstatement    Adjusted     Impact ($)   Impact (%)
     10
          Income from
     11   Operations            $26,232       $(4,300)       $21,932     $(4,300)       -16.39%

     12   Income before
          Income Taxes          $25,032       $(4,300)       $20,732     $(4,300)       -17.18%
     13   Net Income            $11,847       $(4,300)       $7,547      $(4,300)       -36.30%
     14   Basic Earnings Per
          Share                  $0.59                        $0.38       $(0.21)       -36.30%
     15   Diluted Earnings
     16   Per Share              $0.58                        $0.37       $(0.21)       -36.30%

     17                h.      1Q14 (quarter ending September 30, 2013):                      As
     18        detailed above, at the time that OSI’s 1Q14 financial statements were
     19        issued, the Individual Defendants were aware that, in violation of its
     20        U.S. government contracts, Rapiscan had used unapproved Chinese
     21        parts in its checkpoint baggage and parcel scanners, including the
     22        620DV. Accordingly, under GAAP, the Individual Defendants should
     23        have caused OSI to record at least a $2.7 million charge related to
     24        costs    associated    with     disclosure    of    the   violation,   including
     25        replacement       of   the    improper      parts   and     resolution    of   an
     26        administrative proceeding with the U.S. government.                      Had the
     27        Individual Defendants done so, the effect on OSI’s financial statement
     28

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      1        for the quarter ending September 30, 2013 would have been as
      2        follows:
      3
                                          September 30, 2013 – 1st Quarter 2014
      4   (in thousands,
          except EPS)         Reported    Misstatement    Adjusted     Impact ($)   Impact (%)
      5
          Income from
      6   Operations          $10,473       $(2,700)       $7,773      $(2,700)       -25.78%

      7   Income before
          Income Taxes         $9,003       $(2,700)       $6,303      $(2,700)       -29.99%
      8   Net Income           $6,394       $(2,700)       $3,694      $(2,700)       -42.23%
      9   Basic Earnings
          Per Share            $0.32                        $0.18       $(0.14)       -42.23%
     10
          Diluted Earnings
     11   Per Share            $0.31                        $0.18       $(0.13)       -42.23%

     12                i.    2Q14 (quarter ending December 31, 2013): During
     13        the quarter, the Individual Defendants recorded a $0.9 million charge
     14        related to costs associated with disclosure of the violation, including
     15        replacement     of   the    improper      parts   and     resolution    of   an
     16        administrative proceeding with the U.S. government. Nevertheless,
     17        under GAAP, they should have recorded at least an additional
     18        $1.8 million charge so that the full $2.7 million charge was incurred.
     19        Had the Individual Defendants done so, the effect on OSI’s financial
     20        statements for the quarter ending December 31, 2013 would have
     21        been as follows:
     22
                                          December 31, 2013 – 2nd Quarter 2014
     23   (in thousands,
          except EPS)         Reported    Misstatement    Adjusted     Impact ($)   Impact (%)
     24
          Income from
     25   Operations          $22,029       $(1,800)       $20,229     $(1,800)       -8.17%
          Income before
     26   Income Taxes        $20,526       $(1,800)       $18,726     $(1,800)       -8.77%
     27   Net Income          $14,573       $(1,800)       $12,773     $(1,800)       -12.35%
     28

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      1                                  December 31, 2013 – 2nd Quarter 2014
          (in thousands,
      2   except EPS)         Reported   Misstatement   Adjusted   Impact ($)    Impact (%)
          Basic Earnings
      3
          Per Share            $0.73                     $0.64      $(0.09)       -12.35%
      4   Diluted Earnings
          Per Share            $0.71                     $0.62      $(0.09)       -12.35%
      5

      6        166. The Individual Defendants knew or recklessly disregarded that

      7 OSI’s financial statements during the Relevant Period were materially false

      8 and misleading and not in compliance with GAAP and SEC Rules because,

      9 among other things:

     10              a.      The Individual Defendants failed to record the known

     11        charges associated with both the ATR software issue and the 620DV

     12        contract issue in the reporting period in which such liabilities became

     13        probable and estimable, in violation of GAAP.

     14              b.      The   Individual   Defendants    failed   to     concurrently

     15        recognize the entirety of the charges, rather than “spreading” portions

     16        of the charges over several reporting periods, in violation of GAAP.

     17              c.      The Individual Defendants improperly classified the

     18        charges as “impairment, restructuring and other charges,” rather than

     19        properly applying the charges to the appropriate line items in OSI’s

     20        financial statements, to mislead investors into not considering these

     21        charges in the stock price.

     22              d.      The Individual Defendants improperly recorded such

     23        charges as changes in accounting estimates (via prospective

     24        application) rather than as errors (via retrospective application) in

     25        violation of GAAP, given that no new information had been located

     26        that would justify such accounting treatment.

     27

     28

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               B.    Additional GAAP and SEC Violations
      1
               167. In addition to the false statements and omissions related to the
      2
          Individual Defendants’ failure to properly account for the charges
      3
          associated with their wrongdoing, the Company’s SEC filings throughout
      4
          the Relevant Period contained numerous additional material violations of
      5
          GAAP and SEC rules and regulations.
      6
               168. SEC regulations require that certain disclosures supplement a
      7
          company’s quarterly and annual financial statements to help investors
      8
          better understand a company’s financial condition.        Specifically, SEC
      9
          Regulation S-K, Item 303, requires that each annual Form 10-K and
     10
          quarterly Form 10-Q include a narrative explaining the financial statements
     11
          and the changes in financial condition of the company through the eyes
     12
          of management.
     13
               169. The specific disclosure requirement of Item 303 states:
     14

     15
               Describe any known trends or uncertainties that have had or
               that the registrant reasonably expects will have a material
     16        favorable or unfavorable impact on net sales or revenues or
     17
               income from continuing operations. If the registrant knows of
               events that will cause a material change in the relationship
     18        between costs and revenues (such as known future increases in
     19
               costs of labor or materials or price increases or inventory
               adjustments), the change in the relationship shall be disclosed.
     20
               170. Accordingly, OSI was required under GAAP and SEC rules,
     21
          including APB No. 22, Disclosure of Accounting Policies, to disclose in
     22
          detail OSI’s significant accounting policies, including the basis for the
     23
          recognition of revenue, software development costs, and impairment,
     24
          restructuring and other charges in the footnotes of its financial statements
     25
          in each of its publicly issued Forms 10-K and 10-Q during the Relevant
     26
          Period. The requirement set forth in SAB 104 states as follows:
     27

     28

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      1        A registrant should disclose its accounting policy for the
      2        recognition of revenue pursuant to [APB 22]. Paragraph 12
      3        thereof states that “the disclosure should encompass important
      4        judgments as to appropriateness of principles relating to
      5        recognition of revenue . . . .”     Because revenue recognition
      6        generally involves some level of judgment, the staff believes that
      7        a registrant should always disclose its revenue recognition
      8        policy.
      9        171. The following statements in OSI’s SEC filings during the
     10 Relevant Period related to critical accounting policies and estimates were

     11 materially false and misleading or omitted information necessary to make

     12 them not misleading:

     13        Critical Accounting Policies and Estimates
     14
               The following discussion and analysis of our financial condition
     15        and results of operations is based on our Consolidated
     16
               Financial Statements, which have been prepared in
               conformity with accounting principles generally
     17        accepted in the United States. Our preparation of these
     18
               Consolidated Financial Statements requires us to make
               judgments and estimates that affect the reported amounts of
     19        assets and liabilities, disclosure of contingent assets and
               liabilities at the date of the financial statements and the
     20
               reported amounts of revenues and expenses during the
     21        reporting period. We base our estimates on historical
               experience and on various other assumptions that we
     22
               believe to be reasonable under the circumstances. As a
     23        result, actual results may differ from such estimates. Our senior
               management has reviewed these critical accounting policies and
     24
               related disclosures with the Audit Committee of our Board of
     25        Directors.
     26        Use of Estimates
     27
               The preparation of financial statements in conformity with
     28        accounting principles generally accepted in the United States of
                                              76
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      1
               America requires management to make estimates and
               assumptions that affect the reported amounts of assets and
      2        liabilities and the disclosure of contingent assets and liabilities
      3
               at the date of the financial statements and the reported
               amounts of revenues and expenses during the reporting period.
      4        Actual results could differ from those estimates.
      5 [Emphasis added.]

      6        172. These statements were false and misleading when made
      7 because the Individual Defendants had not disclosed that (1) the ATR

      8 software issues had been known for months before November 2012; and

      9 (2) the use of unapproved Chinese components in Rapiscan’s checkpoint

     10 baggage scanners was known during the second quarter of fiscal year 2013.

     11        173. The following Relevant Period statements related to Rapiscan’s
     12 backlog (when considered with the Company’s revenue recognition

     13 policies) were materially false and misleading or omitted information

     14 necessary to make them not misleading:

     15        Revenue Recognition
     16
               The Company recognizes revenue upon shipment of products
     17        when title and risk of loss passes, and when terms are fixed and
               collection is probable. The portion of revenue for the sale
     18
               attributable to installation is deferred and recognized when the
     19        installation service is provided. In an instance where
               terms of sale include subjective customer acceptance
     20
               criteria, revenue is deferred until we have achieved
     21        the acceptance criteria. Concurrent with the shipment of
               the product, the Company accrues estimated product return
     22
               reserves and warranty expenses. Critical judgments made by
     23        management related to revenue recognition include the
               determination of whether or not customer acceptance criteria
     24
               are perfunctory or inconsequential. The determination of
     25        whether or not customer acceptance terms are perfunctory or
               inconsequential impacts the amount and timing of revenue
     26
               recognized.    Critical judgments also include estimates of
     27        warranty reserves, which are established based on historical
               experience and knowledge of the product under warranty.
     28

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      1 [Emphasis added.]

      2         174. Additionally, the Individual Defendants falsely touted the
      3 Company’s backlog on the October 23, 2013 conference call, less than one

      4 month after securing the TSA’s $67.1 million contract.            For example,
      5 Defendant Chopra stated:

      6         The strong results at the onset of this fiscal year puts us in a
      7         very good position to build upon this momentum for the
                remainder of the year. Reviewing the highlights for the
      8         quarter, starting with our Security division – Rapiscan
      9         Systems, where revenues increased 17% to $97 million, with
                bookings of approximately $112 million.
     10
          [Emphasis added.]
     11
                175. On the same earnings conference call, Defendant Edrick stated:
     12

     13
                As mentioned on last quarter’s call, we were excited about the
                prospects for both revenue and earnings growth in fiscal 2014,
     14         and we are quite pleased with how this fiscal year has begun.
     15                                       * * *
     16
                Third, our security bookings were very solid, with a
     17         book-to-bill ratio of security, excluding turnkey, of
                1.7. Our strong bookings and backlog position us well
     18
                in our Security and Opto businesses.
     19
          [Emphasis added.]
     20
                176. These statements were false and misleading when made
     21
          because (1) the Individual Defendants were aware, beginning in the fourth
     22
          quarter of fiscal year 2013 (i.e., quarter ending June 30, 2013), of the use of
     23
          unapproved Chinese parts in the checkpoint baggage scanners that
     24
          Rapiscan had intentionally mislabeled in an attempt to avoid detection; and
     25
          (2) the Individual Defendants misled the market by including in the
     26
          backlog as of September 30, 2013, the TSA’s $67.1 million order for 550
     27
          620DVs when the Individual Defendants knew that such contract would
     28

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      1 never materialize. As Individual Defendants were aware that the TSA had

      2 not approved the parts in use, the Individual Defendants were aware that

      3 the acceptance criteria of the Company’s revenue recognition policy would

      4 never be met.

      5         177. The following statement in OSI’s SEC filings during the
      6 Relevant Period related to goodwill and intangible assets was materially

      7 false and misleading or omitted information necessary to make it not

      8 misleading:

      9         Goodwill and Intangible Assets
     10         Software development costs for software products
     11         incurred before establishing technological feasibility
                are charged to operations. Software development costs
     12         incurred after establishing technological feasibility are
     13         capitalized on a product-by-product basis until the product is
                available for general release to customers at which time
     14         amortization begins. Annual amortization, charged to cost of
     15         goods sold, is the greater of (i) the amount computed using the
                ratio that current gross revenues for a product bear to the total
     16         current and anticipated future gross revenues for that product
     17         and (ii) the straight-line method over the remaining estimated
                economic life of the product.
     18
          [Emphasis added.]
     19
                178. This statement was false and misleading when made because,
     20
          despite their awareness that technological feasibility of the ATR software
     21
          had   not   been   established,   the    Individual   Defendants   wrongfully
     22
          capitalized the ATR software development costs.            This allowed the
     23
          Individual Defendants to improperly avoid recording these expenses in
     24
          OSI’s ongoing operations and to create the impression with investors that:
     25
          (1) OSI would meet the TSA’s extended deadline and not be terminated for
     26
          default (capitalizing the costs indicated that technological feasibility was
     27
          established); and (2) OSI could delay the recognition of these costs into
     28

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      1 expenses. Additionally, as OSI recorded the expenses associated with the

      2 software development in “impairment, restructuring and other charges,”

      3 they were excluded from GAAP net income and earnings per share, metrics

      4 closely monitored by analysts and investors.

      5        179. The following statements in OSI’s 2013 Form 10-K related to
      6 impairment, restructuring, and other charges were materially false and

      7 misleading or omitted information necessary to make it not misleading:

      8        Impairment, Restructuring and Other Charges
      9
               The Company consolidates processes and facilities of its subsidiaries
     10        to better align with demand by its customers and thereby improve its
     11
               operational efficiencies. The associated charges, and other non-
               recurring charges and impairment of assets, are recognized as
     12        impairment, restructuring and other charges in the Consolidated
     13
               Financial Statements.

     14                                        * * *
     15        For the past several years we have endeavored to
               align our global capacity and infrastructure with
     16
               demand by our customers and fully integrate
     17        acquisitions, thereby improving our operational
               efficiency. These activities included reducing excess
     18
               workforce and capacity, consolidating and relocating
     19        certain manufacturing facilities and reviewing the
               value of certain technologies and product lines. The
     20
               overall objectives of the restructuring activities were to lower
     21        costs and better utilize our existing manufacturing capacity.
               During fiscal 2011 through 2013, we continued these efforts
     22
               to further increase operating efficiencies, although
     23        we implemented fewer changes than those made in
               prior fiscal years. Our efforts have helped enhance our
     24
               ability to improve operating margins, retain and expand
     25        existing relationships with customers and attract new business.
               We may utilize similar measures in the future to realign our
     26
               operations to further increase our operating efficiencies. The
     27        effect of these efforts may materially affect our future operating
               results.
     28

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      1
                                             * * *

      2        In response to challenging worldwide economic conditions, the
               Company continued to optimize its cost structure by reducing excess
      3        workforce and facilities and consolidating and relocating certain
      4        manufacturing facilities. In addition, during fiscal 2013, as a result of
               a contract settlement with the Transportation Security Agency (TSA)
      5        related to the Rapiscan Secure 1000SP Advanced Imaging
      6        Technology system and associated Automated Target Recognition
               software and our related agreement with the U.S. Department of
      7        Homeland Security (DHS), the Company incurred charges, including
      8        the write-off of inventory, removal and storage costs for products
               previously sold to the TSA and legal costs; and recognized the
      9        impairment of related capitalized software development costs.
     10
                                             * * *
     11
               Fiscal 2013 Compared with Fiscal 2012. During fiscal 2013, we
     12        incurred $8.0 million of impairment, restructuring and other
     13        charges primarily related to headcount reductions and facility
               consolidation, and in conjunction with our agreement
     14        with the Transportation Security Agency (TSA)
     15        related to the Rapiscan Secure 1000SP Advanced
               Imaging      Technology       system     and     associated
     16        Automated Target Recognition software and our
     17        related agreement with the U.S. Department of
               Homeland Security (DHS).
     18
          [Emphasis added.]
     19
               180. This statement was false and misleading when made because
     20
          the Individual Defendants had not disclosed that (1) the ATR software
     21
          issues had been known for months before November 2012; and (2) the use
     22
          of unapproved Chinese components in Rapiscan’s checkpoint baggage
     23
          scanners was known during the second quarter of fiscal year 2013.
     24
               181. The Individual Defendants have misled and continue to mislead
     25
          investors by describing and recording these costs in the “impairment,
     26
          restructuring and other charges” line item of the Company’s income
     27
          statements.   Such expenses have been incorrectly described by the
     28

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      1 Individual Defendants as “activities              included reducing excess
      2 workforce and capacity, consolidating and relocating certain

      3 manufacturing facilities and reviewing the value of certain

      4 technologies and product lines” which are supposedly designed to

      5 “increase operating efficiencies.” [Emphasis added.]

      6 VII. Insider Trading

      7            182. Based on the material, non-public information that OSI had
      8 serious, ongoing problems relating to its Rapiscan machines and the TSA,

      9 Defendants Chopra, Mehra, and Good sold OSI common stock while at or

     10 near record high prices due to the Company’s false statements:
            Name            Title        Trade   Shares        Sale Price    Gross Proceeds
     11                                  Date     Sold

     12 Defendant      President and   9/10/12         5,198        $74.25          $385,952
          Deepak       CEO, Board
          Chopra       member
     13
                                       9/4/12         15,196        $73.79         $1,121,313
     14
                                       8/15/12        35,340        $73.73         $2,605,618
     15
                                       8/14/12        10,341        $72.39          $748,585
     16

     17                                5/23/12        20,000       $63.96          $1,279,120

     18                                                        TOTAL:            $6,140,588

     19

     20
          Defendant    Rapiscan        9/6/12          3,750       $73.88           $277,050
     21 Ajay Mehra     President and
                       Board Member
     22                                9/5/12          5,997        $73.91          $443,238

     23                                8/16/12        27,053        $73.43         $1,986,502
     24
                                       3/6/12         16,000       $59.00           $944,000
     25
                                       3/1/12         23,452       $58.53          $1,372,587
     26

     27                                                        TOTAL:             $5,023,377

     28

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            Name             Title       Trade    Shares       Sale Price    Gross Proceeds
      1                                  Date      Sold

      2

      3 Defendant       Executive VP   03/14/12        2,700        $61.51          $166,070
          Alan Edrick   and CFO
      4                                03/15/12        2,500        $61.27           $153,173

      5                                03/21/12        7,300        $61.46          $448,680

      6                                03/23/12        5,000        $61.70          $308,500

      7                                08/13/12        2,752        $71.50          $196,768

      8                                08/14/12        7,500        $73.74          $553,050

      9                                09/04/12        4,883        $74.10          $361,830

     10                                09/07/12        8,000        $74.56          $596,480

     11                                09/10/12        1,751        $75.10          $131,500

     12                                                        TOTAL:             $2,916,051

     13

     14

     15 Defendant       Board Member   8/30/12         1,000       $73.50            $73,500
          Steven Good
     16
                                       8/14/12         5,437        $73.79          $401,196
     17
                                       4/26/12         3,813       $63.00           $240,219
     18

     19                                                        TOTAL:               $714,915

     20

     21
                                       Grand       214,963                       $14,794,931
                                       Total:
     22

     23          183. These stock sales are particularly egregious given that the
     24 Individual Defendants admitted that they were aware of the ongoing issues

     25 with the Rapiscan devices “months” before that information was publicly

     26 disclosed. The sales above are all prior to the November 14, 2012 disclosure

     27 and the huge, 30% drop in OSI’s stock price.               The above three Board
     28 members and Edrick had access to this inside information, yet nevertheless

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      1 sold 214,963 shares of stock for proceeds of nearly $14.8 million. These

      2 four Individual Defendants used their position of trust and confidence with

      3 the Company to trade on material insider information that was not

      4 disclosed to the public and improperly made trades because they were

      5 motivated, in whole or in part, by the substance of the material proprietary

      6 information.      If these Defendants had waited until the material, inside
      7 information was known, their sales would have netted them millions less

      8 than they received.

      9        184. By knowingly taking advantage of OSI’s artificially high trading
     10 price, Defendants Chopra, Mehra, Edrick and Good put their own interests

     11 over those of the Company, and derived a benefit not shared equally with

     12 other OSI shareholders.      As a result, Defendants Chopra, Mehra, Edrick
     13 and Good have been unjustly enriched through their breaches of fiduciary

     14 duties.

     15                               DAMAGES TO OSI
     16        185. OSI has been, and will continue to be, severely damaged and
     17 injured by the Individual Defendants’ misconduct.

     18        186. As a direct and proximate result of the Individual Defendants’
     19 misconduct, OSI has expended and will continue to expend significant

     20 sums of money. Such expenditures include, but are not limited to:

     21              a.     legal fees associated with the lawsuits filed against OSI for
     22        violations of the federal securities laws;
     23              b.     loss of reputation and goodwill, and a “liar’s discount”
     24        that will plague OSI’s stock in the future due to the Individual
     25        Defendants’ false statements and lack of candor to the marketplace;
     26              c.     amounts paid to outside lawyers, accountants, and
     27        investigators in connection with any internal investigations; and
     28              d.     loss of revenues and profits.
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      1        187. In particular, the Individual Defendants’ actions have subjected
      2 the Company to two Congressional inquiries, two show-cause letters from

      3 the TSA, and two debarment investigations by the DHS — all within the

      4 span of 12 months. In addition, the Company received an inquiry from

      5 FINRA, the Financial Industry Regulatory Authority, regarding the events

      6 surrounding the November 9, 2012 show-cause letter.            OSI lost two
      7 lucrative contracts with the TSA, one of its major customers. As a result,

      8 OSI has already spent millions of dollars, with the amount continuing to

      9 grow. In addition, the Company has been forced to expend considerable

     10 amounts of time and money defending itself and its officers and directors

     11 against the class action lawsuit for securities fraud.

     12        188. According to OSI’s Form 10-K filed on August 16, 2013, OSI
     13 expensed $3.2 million in charges related to the terminated TSA contract as

     14 of June 30, 2013, and $1.1 million in impairment of software development

     15 costs for the same period.       OSI also expensed $781,000 in employee
     16 termination costs in its Security division. According to OSI’s Form 10-Q

     17 filed on May 2, 2014, OSI expensed an additional $4.3 million in charges

     18 related to the terminated TSA contract and other contract issues with the

     19 TSA and other U.S. government agencies during the nine-month period

     20 ending March 31, 2014.         These costs include removal, storage, and
     21 refurbishing costs for products previously sold to the TSA as required by

     22 the termination, legal, and other costs. In the same period, OSI expensed

     23 $364,000 in charges related to class action litigation. OSI also expensed

     24 $822,000 in employee termination costs in its Security division, incurred

     25 as a result of management restructuring.

     26              DERIVATIVE AND DEMAND ALLEGATIONS
     27        189. Plaintiffs bring this action derivatively in the right and for the
     28 benefit of OSI to redress the breaches of fiduciary duties and other

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      1 violations of law by the Individual Defendants. OSI is named as a Nominal

      2 Defendant solely in a derivative capacity. This is not a collusive action to

      3 confer jurisdiction on this Court that it would not otherwise have.

      4        190. Plaintiffs will adequately and fairly represent the interests of
      5 OSI and its shareholders in enforcing and prosecuting its rights.

      6        191. Plaintiffs are and were owners of OSI common stock during the
      7 Relevant Period when Individual Defendants’ wrongful course of conduct

      8 alleged herein occurred, and remain stockholders of the Company.

      9        192. At the time this complaint was filed, the Board consisted of the
     10 following six individuals: Defendants Chopra, Ballhaus, Feinberg, Good,

     11 Luskin, and Mehra.

     12        193. Because of their Board membership and/or executive positions
     13 with the Company, the Individual Defendants had access to the undisclosed

     14 information about OSI’s ongoing issues with its Rapiscan machines and the

     15 related issues with its TSA contracts.

     16        194. The Individual Defendants face a substantial likelihood of
     17 personal liability in this action, inter alia:

     18           a. as a result of their failure, as directors and/or officers of OSI, to
     19              assure that a reliable system of internal controls was in place
     20              and functioning effectively;
     21           b. for their failure to assure that a reliable disclosure system was
     22              in place and functioning effectively;
     23           c. for their violations of federal securities laws; and
     24           d. for their illicit insider trading proceeds.
     25        195. The Board was on notice that the TSA had raised serious issues
     26 with OSI’s management, violations of contractual provisions, and legal

     27 violations relating to acquiring equipment from non-approved countries.

     28 Moreover, the Individual Defendants failed to take the necessary steps to

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      1 prevent and/or remedy those deficiencies, proximately causing millions of

      2 dollars in damages to the Company.

      3        196. A true and correct copy of the original complaint was delivered
      4 to the Company by Plaintiffs before its filing with this Court.

      5        197. Plaintiffs have not made any demand on the Board to institute
      6 this action because such a demand would be a futile, wasteful, and useless

      7 act, as set forth below.

      8        198. Demand on the Board is futile because, in breach of their
      9 fiduciary duties, OSI’s Board members utterly failed to exercise proper

     10 control over OSI or to put in place allowed proper compliance control,

     11 causing OSI to repeatedly violate federal law.        Each of the Individual
     12 Defendants sat on the Board during the Relevant Period, and was

     13 responsible for the setting and enforcing of policy. Because of the severity

     14 of the wrongdoings, which led to two contract terminations by the TSA,

     15 each Individual Defendant knew or should have known of the underlying

     16 facts of those schemes.

     17        199. Demand is futile because at least half of the Board faces a
     18 substantial likelihood of liability from the breach of fiduciary duty claims

     19 asserted herein. The Individual Defendants breached their duty of loyalty

     20 and good faith to OSI by consciously allowing OSI to operate illegally.

     21        200. Each Individual Defendant is incapable of independently and
     22 disinterestedly considering a demand to commence and vigorously

     23 prosecute this action, for the following reasons:

     24 I.     Defendant Chopra Is Not Independent
     25        201. Demand is excused as to Chopra because he has served as OSI’s
     26 President and CEO, pursuant to which he has received substantial

     27 monetary compensation and other valuable benefits. Chopra is also CEO of

     28 OSI’s major subsidiaries. Based thereupon, OSI readily admits (including

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      1 in the Company’s 2013 Proxy Statement filed on October 15, 2013) that

      2 Chopra is not “independent” under its own standards, the rules and

      3 regulations of the SEC, or pursuant to NASDAQ Stock Market listing rules.

      4         202. Accordingly, demand is excused as to Chopra because of his
      5 lack of independence.

      6 II.     Defendant Mehra Is Not Independent
      7         203. Demand is excused as to Mehra because his principal
      8 professional occupation is his employment with OSI as Executive Vice

      9 President of the Company and as President of its Rapiscan division,

     10 pursuant to which he received and continues to receive substantial

     11 monetary compensation and other valuable benefits.            Based thereupon,
     12 similar to Chopra, OSI readily admits that Mehra is not “independent”

     13 under its own standards, the rules and regulations of the SEC, or pursuant

     14 to NASDAQ Stock Market listing rules.

     15         204. Accordingly, demand is excused on Defendant Mehra because
     16 of his lack of independence.

     17 III.    Defendants Chopra, Mehra, and Good Face a Substantial
                Likelihood of Personal Liability and Are Not Disinterested
     18
                205. Defendants Chopra and Mehra face a substantial likelihood of
     19
          personal liability because they are the primary architects and beneficiaries
     20
          of OSI’s wrongful schemes. Both Chopra and Mehra also face substantial
     21
          likelihood of liability for the breach of fiduciary duty claims asserted herein
     22
          as well as civil liability in the Securities Fraud Action brought against them
     23
          and against the Company.
     24
                206. Indeed, Chopra and Mehra face a substantial likelihood of
     25
          liability because the Court recently denied (by Order dated February 27,
     26
          2015) their motion to dismiss the securities fraud allegations against them
     27
          in the related Securities Fraud Action pending in this Court, concluding
     28

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      1 that Chopra’s and Mehra’s comments about the development of the ADR

      2 software for Rapiscan “were not vague and optimistic, but specific and

      3 materially misleading at the time they were made.”2 Therefore, Chopra and

      4 Mehra are incapable of deciding any demand because of lack of the

      5 necessary disinterest.

      6         207. Moreover, as a result of the actions complained of herein,
      7 Defendants Chopra, Mehra, and Good each received a material financial

      8 benefit that was not shared by OSI’s shareholders in that they were able to

      9 reap significant profits through the misuse of non-public Company

     10 information to which they were privy as a result of their positions as

     11 fiduciaries of the Company.

     12         208. Defendants Chopra, Mehra, Edrick, and Good sold large
     13 quantities — approximately 214,963 shares — of OSI stock based on the

     14 material information that OSI had serious and significant problems with

     15 the Rapiscan division, including its problems with the TSA contract. The

     16 illicit profits reaped by Chopra, Mehra, Edrick and Good were a direct

     17 result of OSI’s inflated stock price due to the undisclosed problems

     18 described herein. When this information became public, OSI’s stock price

     19 fell precipitously.

     20         209. Because Chopra, Mehra, Edrick and Good each received
     21 significant pecuniary benefits from their wrongdoing, they are incapable of

     22 independently and disinterestedly considering a demand to commence and

     23 vigorously prosecute this action without being influenced by their

     24 overriding personal interest.

     25

     26

     27   2     Roberti v. OSI Sys., Inc., No. 13-cv-09174-MFW-VBK, ECF No. 60 at
          13.
     28

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      1        210. Accordingly, demand is futile and excused as to Chopra, Mehra,
      2 Edrick and Good.

      3 IV.    Demand Is Futile for the Audit Committee Defendants
      4        211. During the Relevant Period, Ballhaus, Good, and Luskin served
      5 as members of the Audit Committee, which is charged with reviewing OSI’s

      6 financial statements and internal controls and ensuring compliance with

      7 GAAP. Specifically, the Audit Committee Charter requires Ballhaus, Good,

      8 and Luskin to:

      9           a. “Review with the Company’s management, internal auditors
     10              and independent auditors the Company’s accounting and
     11              financial reporting controls.”
     12           b. “Obtain annually in writing from the independent auditors their
     13              letter as to the adequacy of such controls.”
     14           c. “Review with the Company’s management, internal auditors
     15              and independent auditors significant accounting and reporting
     16              principles, practices and procedures applied by the Company
     17              and management’s judgments and estimates in preparing its
     18              financial statements.”
     19           d. “Discuss with the independent auditors their judgments about
     20              the quality, not just the acceptability, of the Company’s
     21              accounting principles used in financial reporting.”
     22        212. However, Ballhaus, Good, and Luskin breached their fiduciary
     23 duties of loyalty and good faith, because they, as Audit Committee

     24 members, failed to adopt and implement adequate internal controls, as

     25 more particularly described herein.

     26        213. Ballhaus, Good, and Luskin have been responsible for and/or
     27 failed to rectify OSI’s ongoing internal control issues, even when given

     28 notice from the TSA regarding a remediation plan. Despite these red flags,

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      1 the Audit Committee members failed to take necessary action in good faith

      2 to correct these ongoing issues.

      3        214. Furthermore, Ballhaus, Good, and Luskin breached their duties
      4 of loyalty and good faith by causing OSI to file financial statements that did

      5 not comply with GAAP, as particularly alleged supra. Because they knew

      6 and intentionally or recklessly disregarded the GAAP violations, as

      7 specifically alleged supra, Ballhaus, Good, and Luskin acted in bad faith.

      8 Breaches of a director’s fiduciary duties of loyalty and good faith cannot be

      9 indemnified by OSI. Thus, the actions of Ballhaus, Good, and Luskin in

     10 causing OSI to violate GAAP expose such Defendants to a substantial risk of

     11 personal liability for their conduct, thus excusing any demand.

     12        215. Since Ballhaus, Good and Luskin have a substantial risk of
     13 liability for breach of their fiduciary duty of loyalty and good faith, they lack

     14 the requisite disinterest to decide a demand.

     15 V.     The Individual Defendants Have Interconnected Personal
               and Professional Relationships and Thus Cannot
     16
               Independently Consider a Demand
     17        216. Defendants Feinberg and Luskin both have extensive ties to the
     18 UCLA Health System. Defendant Feinberg serves as the President and CEO

     19 of UCLA Hospital. Defendant Luskin is a director of the UCLA Foundation

     20 and serves on the Board of the Santa Monica – UCLA Medical Center and

     21 Orthopedic Hospital.       During the Relevant Period, Defendant Luskin
     22 donated 50,000 shares to UCLA for proceeds of more than $4 million. As a

     23 result of these longstanding professional relationships among themselves,

     24 Defendants Feinberg and Luskin are incapable of bringing suit against each

     25 other on behalf of the Company.

     26        217. Defendants Chopra, Mehra, and Good have personal and
     27 familial ties to each other. Specifically, Chopra and Mehra are first cousins.

     28

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      1 Moreover, Defendant Mehra is the brother of — and Defendant Chopra is

      2 the first cousin of — Rajiv Mehra, a longtime business colleague and

      3 investment partner of Defendant Good.         Good and Rajiv Mehra were
      4 partners together at the accounting firm of Good, Swartz, Brown & Berns,

      5 and its predecessors and successors, from approximately 1987 until 2010,

      6 and remain employed by its successor firm, Cohn Reznick. Rajiv Mehra

      7 also held significant investments in OSI alongside Good as part of the

      8 pension and profit plan of Good, Swartz, Brown & Berns. As a result of

      9 these personal relationships among themselves, Chopra, Mehra, and Good

     10 are incapable of bringing suit against each other on behalf of the Company.

     11          218. Moreover, Defendants Good and Luskin are entrenched
     12 because they have served as directors of the Company since 1987 and 1990,

     13 respectively. As a result, Good and Luskin are incapable of bringing suit

     14 against each other or against Defendant Chopra, the Company’s founder,

     15 and cannot exercise independent judgment about the best interests of OSI.

     16          219. Accordingly, demand on Defendants Chopra, Mehra, Good,
     17 Feinberg, and Luskin is futile and excused.

     18 VI.      All Individual Defendants Face a Substantial Likelihood of
                 Liability Because They Had Actual Knowledge of — or
     19
                 Recklessly Disregarded — the Material Undisclosed Facts
     20          220. All Individual Defendants knew or recklessly disregarded the
     21 undisclosed material facts alleged herein. As a result, they acted in bad

     22 faith and any demand on them is futile.

     23          221. An inference of the Individual Defendants’ knowledge is
     24 warranted under both the “core product” doctrine and because of the

     25 temporal proximity of the false financial statements to the revelation of the

     26 truth.

     27

     28

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      1        222. With respect to an inference of knowledge under the core
      2 product doctrine, as specifically alleged supra, OSI is highly dependent on

      3 Rapiscan. According to OSI’s 2013 Annual Report on Form 10-K, which

      4 was signed by all Individual Defendants, the Security division, and

      5 particularly the Rapiscan machines, are of critical importance to OSI:

      6 Through its Security division, the Company designs, manufactures and

      7 markets security and inspection systems under the “Rapiscan Systems”

      8 trade name. Rapiscan Systems products fall into four categories—baggage

      9 and parcel inspection; cargo and vehicle inspection; hold (checked) baggage

     10 screening; and people screening.     They are used to search for weapons,
     11 explosives, drugs and other contraband as well as for the safe, accurate and

     12 efficient verification of cargo manifests for the purpose of assessing duties

     13 and monitoring the export and import of controlled materials.

     14        223. Moreover, the Security division is by far the largest division at
     15 OSI.    In fiscal year 2012, the Security division revenues amounted to
     16 $391.8 million,   or approximately 49% of the Company’s revenues.
     17 Rapiscan also accounted for revenues of $372.2 million, or approximately

     18 46% of the Company’s total revenues, in fiscal year 2013.       Baggage and
     19 parcel inspection was one of OSI’s most important product lines. In April

     20 2012, Defendant Edrick described this area in a conference call for

     21 investors and analysts:    “This has long been the bread and butter for
     22 Rapiscan and it’s a very nice product line.” Edrick made similar statements

     23 on the importance of this product line throughout the Relevant Period.

     24        224. Because the Security division generates over half of OSI’s
     25 revenues, and because Rapiscan systems are vital to the Security division’s

     26 success, Rapiscan systems are OSI’s “core product.”          The Individual
     27 Defendants were charged with the knowledge of the Rapiscan-related

     28 issues. As the Court noted in denying the Defendants’ motion to dismiss in

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      1 the related securities fraud class action, the Ninth Circuit allows inference

      2 of scienter “‘where the nature of the relevant fact is of such prominence that

      3 it would be absurd to suggest that management was without knowledge of

      4 the matter.’”3    Because Rapiscan systems are OSI’s “core product,”
      5 knowledge of the key facts and problems with Rapiscan is imputed to the

      6 Individual Defendants.      As confirmed by the confidential witnesses
      7 referenced    in the securities fraud class action complaint, OSI’s
      8 management and directors had access to all of the information, reports, and

      9 testing data regarding Rapiscan and its prospects.

     10        225. Second, an inference of the Individual Defendants’ knowledge is
     11 warranted based on the temporal proximity between the false statements

     12 and material omissions the Individual Defendants caused the Company to

     13 make and the revelation of the truth. With respect to the ATR software, for

     14 example, OSI admitted that Rapiscan became aware of an issue related to

     15 software under development months before the issue was publicly disclosed

     16 to the stock market. This admission was made less than six months after

     17 Defendant Edrick indicated the ATR software was in final testing, and thus

     18 is supportive of scienter. See Reese, 747 F.3d at 574 (“Temporal proximity

     19 of an allegedly fraudulent statement or omission and a later disclosure can

     20 be circumstantial evidence of scienter.”).

     21        226. Moreover, several confidential witnesses cited in the amended
     22 complaint in the related securities fraud class action indicated that OSI

     23 executives and Board members were aware of the problems. As this Court

     24 noted in denying the motion to dismiss in that case:

     25

     26

     27   3    Roberti, ECF No. 60 at 18 (quoting Reese v Malone, 747 F.3d 557,
          575-76 (9th Cir. 2014)).
     28

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      1
                This inference [of the defendants’ scienter] is buttressed by
                specific statements from confidential witnesses connecting the
      2         problems to the management. For example, Confidential
      3
                Witness 1, a Senior Test Engineer who worked on the ATR
                testing, stated that Rapiscan “pretty much knew from the start”
      4         that the software was running far behind schedule, and
      5
                indicated that “for most of my testing we were about a year
                behind” the original schedule. (Amended Compl. at ¶54.)
      6         Confidential Witness 2, who worked at OSI until July 2013,
                indicated that he “was aware all along that they were trying and
      7
                having trouble meeting the criteria” for the ATR software, that
      8         “the company knew all along that it was a difficult process,” and
                that Rapiscan “never even got close to having the issue solved.”
      9
                (Id. at ¶56.) Significantly, Confidential Witness 2 confirmed
     10         that OSI “cherry-picked a few machines that were working
                better [than others],” which clearly establishes knowledge of the
     11
                problem and knowing obfuscation. (Id. at ¶63.) Confidential
     12         Witness 4, who worked at Rapiscan until January 2013, stated
                that Quality Director Robert Mosey would have
     13
                known of any manipulations and that the knowledge
     14         would have risen “all the way up to the president and
                even [CEO].” (Id. at ¶63.)
     15
          [Emphasis added.]
     16
                227. Thus, an inference of the knowledge or reckless disregard of the
     17
          adverse undisclosed facts arises as to the entire Board of Directors due to
     18
          the core product doctrine, temporal proximity of the false statements to the
     19
          revelation of the truth, and the allegations of the confidential witnesses in
     20
          the related securities fraud class action complaint.
     21
        VII. All Individual Defendants Face a Substantial Likelihood of
     22      Liability for Causing OSI to Disseminate False and
     23      Misleading Information
     24      228. The Individual Defendants were responsible for reviewing and

     25 approving the Company’s financial statements.            By authorizing the false

     26 financial statements and public statements set forth above, the Individual

     27 Defendants were active participants in breaches of candor and duty, and

     28

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      1 have subjected the Company to, among other things, lawsuits claiming

      2 violations of the federal securities laws.

      3        229. A director’s breach of the duty of candor is not entitled to
      4 protection under the business judgment rule.        As a result, any demand
      5 upon the Individual Defendants to bring suit against themselves would be a

      6 useless and futile act.

      7        230. The Individual Defendants’ knowing or reckless breaches of
      8 fiduciary duty constitute bad faith under Delaware law. Bad-faith conduct

      9 is not protected under the business judgment rule.        Thus, all Individual
     10 Defendants face a substantial likelihood of liability. Demand is thus futile

     11 and excused.

     12 VIII. Demand Is Futile for Additional Reasons

     13        231. OSI’s officers and directors are protected against personal
     14 liability for their acts of mismanagement and breach of fiduciary duty

     15 alleged in this complaint by directors’ and officers’ liability insurance,

     16 which they caused the Company to purchase for their protection with

     17 corporate funds, i.e., monies belonging to the stockholders of OSI.

     18 However, the directors’ and officers’ liability insurance policies covering the

     19 Individual Defendants contain provisions that eliminate coverage for any

     20 action brought directly by OSI against these defendants, known as the

     21 “insured versus insured exclusion.”

     22        232. As a result, if the Individual Defendants were to sue themselves,
     23 there would be no directors’ and officers’ insurance protection. Thus, the

     24 Individual Defendants will not bring such a suit. On the other hand, if the

     25 suit is brought derivatively, as this action is brought, such insurance

     26 coverage exists and will provide a basis for the Company to effectuate a

     27 recovery.

     28

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    1        233. Accordingly, demand on the Individual Defendants is futile, and
    2 therefore, excused.

    3                               COUNT I
                           Breach of Fiduciary Duties
    4
               for Disseminating False and Misleading Information
    5                       (Against All Defendants)
    6        234. Plaintiffs incorporate by reference and re-allege all preceding
    7 and subsequent allegations, as though fully set forth herein.

    8        235. As alleged in detail herein, each of the Individual Defendants
    9 (and particularly the Audit Committee Defendants) had a duty to ensure

   10 that OSI disseminated accurate, truthful and complete information to its

   11 shareholders.

   12        236. The Individual Defendants violated their fiduciary duties of
   13 care, loyalty, and good faith by causing or allowing the Company to

   14 disseminate to OSI shareholders materially misleading and inaccurate

   15 information through, inter alia, SEC filings and other public statements

   16 and disclosures as detailed herein. These actions could not have been a

   17 good faith exercise of prudent business judgment.

   18        237. As a direct and proximate result of the Individual Defendants’
   19 breaches of fiduciary duties, the Company has suffered significant damages,

   20 as alleged herein.

   21                                COUNT II
   22                        Breach of Fiduciary Duties
                for Failing to Maintain Adequate Internal Controls
   23
                              (Against All Defendants)
   24
             238. Plaintiffs incorporate by reference and re-allege all preceding
   25
        and subsequent allegations, as though fully set forth herein.
   26
             239. As alleged herein, each of the Individual Defendants had a
   27
        fiduciary duty to, among other things, exercise good faith to ensure that
   28

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    1 OSI’s financial statements were prepared in accordance with GAAP and

    2 relevant SEC regulations, and, when put on notice of problems with OSI’s

    3 business practices and operations, exercise good faith in taking appropriate

    4 action to correct the misconduct and prevent its recurrence.

    5        240. The Individual Defendants willfully ignored the obvious and
    6 pervasive problems with OSI’s internal controls practices and procedures

    7 and failed to make a good faith effort to correct the problems or prevent

    8 their recurrence.

    9        241. As a direct and proximate result of the Individual Defendants’
   10 foregoing breaches of fiduciary duties, the Company has sustained

   11 damages.

   12                              COUNT III
                               Unjust Enrichment
   13
                    (Against Chopra, Mehra, Edrick, and Good)
   14
             242. Plaintiffs incorporate by reference and re-allege all preceding
   15
        and subsequent allegations, as though fully set forth herein.
   16
             243. By their wrongful acts, Defendants Chopra, Mehra, Edrick, and
   17
        Good were unjustly enriched at the expense of and to the detriment of OSI
   18
        and it would be unconscionable to allow them to retain the benefits of their
   19
        illegal conduct. These Defendants were unjustly enriched by their receipt of
   20
        proceeds from their illegal sales of OSI common stock, as alleged herein.
   21
             244. Plaintiffs, as shareholders of OSI, seek restitution from these
   22
        Defendants, and each of them, and seek an order of this Court disgorging
   23
        all proceeds obtained by Chopra, Mehra, Edrick, and Good, and each of
   24
        them, as a result of their wrongful conduct and breaches of fiduciary duties.
   25
             245. As a result of Defendants Chopra, Mehra, Edrick, and Good’s
   26
        unjust enrichment, OSI has been injured and is entitled to damages.
   27

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    1                            PRAYER FOR RELIEF
    2        WHEREFORE, Plaintiffs demand judgment as follows:
    3        A.   Determining that this action is a proper derivative action
    4 maintainable under law, and that demand is excused;

    5        B.   Awarding, against each of the Individual Defendants and in
    6 favor of the Company, the amount of damages sustained by the Company as

    7 a result of the Individual Defendants’ breaches of fiduciary duties;

    8        C.   Directing OSI to take all necessary actions to reform and
    9 improve its corporate governance and internal procedures to comply with

   10 applicable laws and to protect the Company and its shareholders from a

   11 repeat of the damaging events described herein, including, but not limited

   12 to, putting forward for shareholder vote resolutions for amendments to

   13 OSI’s By-Laws or Articles of Incorporation and taking such other action as

   14 may be necessary to place before shareholders for a vote a proposal to

   15 strengthen the Board’s supervision of operations and develop and

   16 implement procedures for greater shareholder input into the policies and

   17 guidelines of the Board;

   18        D.   Awarding to OSI restitution from the Individual Defendants,
   19 and each of them, and ordering disgorgement of all profits, benefits and

   20 other compensation obtained by the Individual Defendants;

   21        E.   Awarding to Plaintiffs the costs and disbursements of the
   22 action, including reasonable attorneys’ fees, accountants’ and experts’ fees,

   23 costs, and expenses; and

   24        F.   Granting such other and further relief as the Court deems just
   25 and proper.

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    1                        DEMAND FOR JURY TRIAL
    2        Plaintiffs demand a trial by jury on all issues so triable.
    3 Dated: August 25, 2015                  Respectfully submitted,
    4
                                              SCOTT+SCOTT, ATTORNEYS AT LAW LLP
    5
                                                       /s/John T. Jasnoch
    6                                         John T. Jasnoch (281605)
                                              jjasnoch@scott-scott.com
    7                                         655 North Central Ave., 17th Floor
    8                                         Glendale, California 91203
                                              Telephone: (213) 985-1274
    9                                         Facsimile: (213) 985-1278
   10                                         SCOTT+SCOTT, ATTORNEYS AT LAW LLP
                                              Donald Broggi
   11                                         dbroggi@scott-scott.com
                                              Thomas Laughlin
   12                                         tlaughlin@scott-scott.com
                                              The Chrysler Building
   13                                         405 Lexington Avenue, 40th Floor
   14
                                              New York, New York 10174
                                              Telephone: (212) 223-6444
   15                                         Facsimile: (212) 223-6334

   16                                         Attorneys for Plaintiff City of Irving
                                              Supplemental Benefit Plan
   17
                                              BOTTINI & BOTTINI, INC.
   18                                         Francis A. Bottini, Jr. (SBN 175783)
                                              fbottini@bottinilaw.com
   19                                         Albert Y. Chang (SBN 296065)
                                              achang@bottinilaw.com
   20                                         Yury A. Kolesnikov (SBN 271173)
   21                                         ykolesnikov@bottinilaw.com
                                              7817 Ivanhoe Avenue, Suite 102
   22                                         La Jolla, California 92037
                                              Telephone: (858) 914-2001
   23                                         Facsimile: (858) 914-2002
   24

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                                          THE SHUMAN LAW FIRM
    1                                     Kip B. Shuman
    2
                                          kip@shumanlawfirm.com
                                          Rusty E. Glenn
    3                                     rusty@shumanlawfirm.com
                                          885 Arapahoe Avenue
    4                                     Boulder, Colorado 80302
                                          Telephone: (303) 861-3003
    5                                     Facsimile: (303) 484-4886
    6                                     Counsel for Plaintiff Marc Hagan
    7

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                                      VERIFICATION

               I, Marc Hagan, verify that I am a shareholder of Nominal Defendant OSI

      Systems, Inc. I have reviewed the allegations made in the Verified Consolidated

      Shareholder Derivative Complaint. As to those allegations of which I have

      personal knowledge, I believe them to be true; as to those allegations of which I

      lack personal knowledge, I rely upon my counsel and counsel's investigation,

      and believe them to be true. Having received a copy of the Consolidated

      Complaint and reviewed it with counsel, I authorize its filing.

               I declare under penalty of perjury under the laws of the United States of

      America that the foregoing is true and correct.


      Dated:
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                              EXHIBIT A
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                                 #:413




 JOSEPH P. GUGLIELMO

 Writer's Direct Dial Number
 (212) 223-4478

 Writer's Direct Email Address
 jg ug I ie I mo@scott-scott.com




                                           February 11, 2014
                                                                            Via Certified Mail and Email


 Victor S. Sze
 Corporate Secretary
 OSI Systems, Inc.
 12525 Chadron Avenue
 Hawthorn, California 90250


        Re:      OSI Systems Shareholder Inspection of Books and Records



Dear Mr. Sze:


        I write on behalf of the City of Irving Supplemental Benefit Plan ("Irving"), the owner of
 578 shares of common stock of OSI Systems, Inc., ("OSI Systems" or the "Company"), in order
 to demand inspection of OSI Systems books and records and make extracts thereof pursuant to 8
Del. C. § 220.


        I.       Irving is a Current Shareholder of OSI Systems

        Irving is a current OSI Systems shareholder with a right to inspect the books and records
requested herein. As evidence of Irving's beneficial ownership of OSI Systems common stock, I
have enclosed with this letter the sworn declaration of Charles Anderson, attesting to Irvine's
 ownership of 578 shares of OSI Systems common stock as of the date of this letter, the
continuous ownership of shares of OSI Systems common stock since February 29, 2012, and the
intention to continue to hold shares at least through the conclusion of the proceedings
contemplated in this demand.          Mr. Anderson's declaration is accompanied by documentary
 evidence of his beneficial ownership of stock that he verifies to be accurate.           Included in Mr.
Anderson's declaration is a power of attorney granting Scott+Scott, Attorneys at Law, LLP
 ("Scott+Scott") the authority to initiate, pursue and act on behalf in their demand for books and
records.




 ATTORNEYS AT LAW       NEW    YORK       SCOTT   +   SCOTT LLP                    212 223-6444 VOICE


                        CONNECTICUT       THE CHRYSLER BUILDING                    212 223-6334 FAX


                        OHIO              405   LEXINGTON   AVENUE.   40TH FLOOR   SCOTTLAW@SCOTT-SCOTT. COM


                        CALIFORNIA        NEW YORK. NY 10174                       WWW.SCOTT-SCOTT. COM
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          II.    Irving Has a Proper Purpose for Making This Demand - Investigating the
                 Evidence of Wrongdoing at OSI Systems

          Irving makes this demand in order to investigate potential wrongdoing, mismanagement,
 and breaches of fiduciary duties by the members of the Company's management and board of
 directors in connection with the events, circumstances, and transactions described herein.
 Specifically, on November 14, 2012, Bloomberg News reported that Congressman Mike Rogers,
 Chairman of the House Transportation Security Subcommittee, disclosed that the Company may
 have committed fraud by "knowingly manipulating" the results of an operational test of the
 Company's Advanced Imaging Technology. The Bloomberg News report also revealed that OSI
 Systems' Executive Vice President Peter Kant revealed that the Company's Rapiscan Systems
 unit   ("Rapiscan")   received   a   "show   cause"    letter   fmm   the   Transportation   Security
 Administration ("TSA") on November 9, 2012, seeking information about the testing of
 technology used in its body scanners. This disclosure lead to the largest drop in the price of OSI
 Systems shares in over 15 years as shares dropped $21.40 per share.


          Later, on January 22, 2013, the TSA reported that it ended its contract with the Company,
 and that OSI Systems would be required to bear the costs of removing Rapiscan body scanners
 from airports, because the TSA concluded that the Company could not meet a congressional
 deadline to produce generic passenger images instead of images that invade the privacy of
 passengers. Upon this news, OSI Systems shares dropped $14.03 per share to $57.33, or over
 19%. Despite the fact that the persistent problems related to travelers' privacy had been long
 known to the Company, the problems seemingly were not fixed. On May 20, 2013, OSI Systems
 reported that the Department of Homeland Security ("DHS") issued a "notice of proposed
 debarment" to OSI Systems, for the purpose of barring further use of the Company's full-body
 Rapiscan body scanners.     The reasoning behind DHS's proposed bar were concerns that the
 scanners continued to reveal the naked images of travelers' bodies.         Upon this revelation, the
 price of OSI Systems shares dropped $8.05 per share to $53.25, a drop of over 13%.


          Despite these longstanding issues with two of Rapiscan's largest customers in DHS and
 TSA, OSI Systems continued to jeopardize these relationships. On December 6, 2013, the TSA
 cancelled a $60 million deal for the Company's carry-on baggage screening equipment.            This
 contract cancellation also included a possibility of a future ban on contracting with the DHS.
 Even though OSI Systems' problems with DHS and TSA had been well publicized for over a
 year, the reason for the cancelled contract was that part of the Company's baggage screening
 machine was manufactured in China, directly violating TSA security policies. Upon this news,
 the price of the Company's shares dropped $21.69 per share to $43.63, or over 33%


          This fraudulent and/ or bad faith conduct of OSI Systems' directors and officers has now
 led to OSI Systems, along with CEO Deepak Chopra and CFO Alan Edrick, being the subject of
 a securities class action lawsuit styled as Roberti   v.   OS! Systems et al., No. 13-cv-9174-MWF
 (C.D. Cal).    This suit, combined with the other troubling occurrences set forth above, gives
 Irving clear suspicion that wrongdoing has occurred at the Company.
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          Based on the foregoing, Irving makes this §220 demand for the proper purposes of:


          (a)     investigating corporate waste, mismanagement or wrongdoing and breach
                  of fiduciary duties of loyalty and good faith on the part of OSI Systems'
                  officers and directors with respect to the above-described matters;


          (b)     determining whether the current directors are fit to continue serving on the
                  board of directors; and


          (c)     taking appropriate action in the event the members of the Company's
                  management and board of directors did not properly discharge their
                  fiduciary duties, including the preparation and filing of a shareholder
                  derivative lawsuit, if appropriate.


          This demand to inspect OSI Systems' books and records is undertaken in good faith and
 pertains to Irving's interest in reviewing the manner in which OSI Systems is being managed.
 The Delaware Chancery Court has consistently found similar shareholder demands to inspect a
 corporation's books and records for reasons such as this one to be proper. See, e.g., Melzer              v.

 CNET Networks, Inc., 934 A.2d 912 (Del. Ch. 2007); Grimes               v.   DSC Communications Corp.,
 724 A.2d 561 (Del. Ch. 1998). Irving is entitled to inspect all necessary books and records to
 satisfy these stated purposes.    See generally Trial Transcript and Rulings of the Court, Indiana
 Electrical Workers Pension Trust Fund IBEW         v.   WalMart Stores, Inc., Civil Action No. 7779-CS
 (Del. Ch. June 7, 2013). The below demands are necessary and essential to effectuate Irving's
 purpose.


          III.    Demand for Inspection

                                                                                  1
          Accordingly, Irving requests the following books, records, and documents be made
 available for inspection by its attorneys, Scott+Scott, during the usual hours of business:

                                    2
          1.     All Board Materials concerning the TSA's Operational Test of the
                 Advanced Imaging Technology described by Mike Rogers, Chairman of
                 the House Transportation Security Subcommittee in his November 13,
                 2012 letter to Transportation Security Administration Chief John Pistole;


          2.     All Board Materials concerning actions taken by the Company in response
                 to the show cause letter from the TSA, received by OSI Systems on
                 November 9, 2012;




          The term "documents" includes all con-espondence related to a given category, and all
 electronically created and retained directories, files, documents, spreadsheets, graphical renderings and e­
 mails with their attachments.

 2
          The term 'Board Materials" means all documents concerning, related to, provided at, considered
 at, discussed at, or prepared or disseminated in connection with any meeting of the Company's board of
 directors or any regular or specially created committee thereof, including all presentations, board
 packages, recordings, agendas, summaries, memoranda, transcripts, notes, minutes of meetings, drafts of
 minutes of meetings, exhibits distributed at meetings, summaries of meetings, or resolutions.
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          3.    All Board Materials concerning actions taken by the Company to meet the
                congressional deadline for Advanced Imaging Technology to produce
                     .           .
                genenc passenger Images;


          4.    All Board Materials concerning actions taken by the Company in response
                to the Department of Homeland Security's Notice of Proposed Debarment,
                reported by OSI Systems on May 20, 2013;


          5.    All Board Materials received from management or external entities
                reflecting Rapiscan's compliance with TSA and DHS security policies and
                privacy policies;


          6.    All Board Materials that reflect Board oversight of Rapiscan's compliance
                with Federal Acquisition Regulations regarding contract terms with the
                TSA and DHS;


          7.    All   Board   Materials   concerning   foreign   made   components    m   the
                Company's airport scanning machines;

          8.    Accounting books or records reflecting how the Company accounted for
                contracts with the TSA and DHS;

          9.    All Board materials concerning Company stock sales or option exercises
                by executive officers and directors of the Company, including, without
                limitations, all copies and amendments of insider trading policies, copies
                of applicable Rule 1 Ob5-1 plans, and documents sufficient to establish any
                open trading windows applicable to stock sales or option exercises;


          10.   Documents sufficient to identify all OSI Systems employees who make
                direct reports to the OSI Systems Board of Directors, or any subcommittee
                thereof, as well as the positions held by any such employees;


          11.   For OSI Systems employees identified in request number eight, all reports,
                draft reports, emails, communications or other documents concerning each
                of the topics listed in requests 1, 2, 3, 4, 5, 6, and 7 (i.e. the TSA's
                Operational Test, actions taken by the Company in response to the show
                cause letter, the congressional deadline, and the proposed debarment,
                compliance with contractual obligations and TSA/DHS security and
                privacy policies, compliance with Federal Acquisition Regulations, and
                foreign made component parts in the airport screening machines).
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 IV.      Conclusion


          Irving hereby demands that: (1) originals or attested copies of the foregoing documents
 and records be made available for inspection and copying by Scott + Scott, Attorneys at Law,
 LLP and its attorneys and agents, during usual business hours until the inspection is completed;
 or (2) the Company deliver copies of such records, within five business days after receipt of this
 letter, to the attention of Joseph P. Guglielmo at Scott+Scott, Attorneys at Law, LLP, 405
 Lexington Ave., 40th Floor, New York, New York, 10174; Tel. (212) 223-6444. We will
 reimburse the Company the reasonable copy costs if the documents are sent to Scott+Scott,
 Attorneys at Law, LLP. We will agree to enter into a reasonable Confidentiality Agreement.


          Please advise as soon as possible, and in any event, on or prior to the expiration of five
 business days after the date this demand is received by the Company, when and where the items
 demanded above will be made available or, in lieu thereof, when copies of such items will be
 delivered.




                                               Very Truly Yours,
                                               SCOTT+SCOTT, ATTORNEYS AT LAW, LLP




                                                 �
                                               Joseph P. Guglielmo, Esq.
